Case 1:04-cv-10981-PBS Document12-8 Filed 12/15/2004 Page1 of 61

EXhibit F

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 2 of 61

DECLARATION OF BARRY R. HIMMELSTEIN

I, BARRY R. HIMMELSTEIN, declare and state:

1. l am a member in good standing of the bar of the State of California, and a
partner in the law firm of Lieff, Cabraser, Heimann & Bernstein, LLP (“LCI-IB”), counsel
for plaintiffs ASEA/AFSCME Local 52 Health Beneflts Trust and Brian Krah in this
multidistrict litigation proceeding (D. Mass. C.A. No. l:O4-CV-12285-PBS). I make this
declaration in support of LCHB’s appointment as a member of the Class Plaintiffs’
Steering Committee in fn re Neurontin Marketing and Sales Practl`ces Litigation, MDL
Docket No. 1629, pursuant to Rule 23(g)(2)(a) of the Federa] Rules of Civil Procedure. l
have personal knowledge of the matters set forth herein, and could and would testify
competently thereto if called upon to do so.

2. With over 60 attorneys, LCHB is one of the oldest, largest, most
respected, and most successful law firms in the country specializing in class actions, and
brings to the table a wealth of experience in similar litigation LCHB has been repeatedly
recognized as one of the top plaintiffs’ law firms in the country by both The National
Law Journal and The Arnerican Lawyer. See D. Hechler, The Plaz`nn'ffs ' Hor Lz‘sr,
National Lavv Joumal (July 26, 2004), at S-S; A. Frankel, Swee£ St`xteen, Litigation 2004,
Supplement to The Anierican Lavvyer & Corporate Counsel (Dec. 2004), at 8-10. A copy
of the LCHB firm resume is attached hereto.

3. LCHB has been appointed to leadership positions in numerous class
actions involving prescription drugs. LCHB has been appointed co-lead counsel in la re
Lupron Markering and Sales Pracrices Lz'rigation, MDL Docket No. 1430, pending in this

judicial district; co-lead counsel in In re Buspirone Antitrust Liz‘z`gation, MDL Docket No.

367427.] l

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 3 of 61

1410, pending in the Southem District of New York, which settled in November 2003 for
$90 million; co-lead counsel in fn re Tamoxifen Anti`rrust Liti`gati'on, MDL Docket No.
1408, pending in the Eastem District of New York; co-lead counsel in 111 re
Ct`profloxacz`n Antt'trust Lz`tigati'on, MDL Docket No. 1383, pending in the Eastern
District of New York; and LCI-IB served as co-lead counsel in Pharmaceuti'cal Cases I,
H, & IH, California J udicial Council Coordination Proceeding Nos. 2969, 2971 & 2972.

4. l graduated magna cum lande from the University of California, Hastings
College of the Law, in 1991. Following graduation, l clerked for the Hon. Charles A.
Legge (Ret.) of the Northern District of California, before joining the San Francisco
office of Morrison & Foerster, LLP1 in 1993. l joined LCHB in 1997, and have been a
partner iii LCHB since 1999.

5. During my tenure at LCHB, I have specialized in consumer fraud
litigation, and l chaired the firm’s consumer practice group for several years. l am
experienced in pharmaceutical litigation, and have been successful iii obtaining
certification of national litigation classes under the New Jersey Consumer Fraud Act and
RICO. I have personally litigated and settled class action cases totaling over $2 billion

6. I was appointed co-lead counsel in the groundbreaking Synthroi'd
Marketi'ng Li'ri'gazion, MDL Docket No. 1182, in which the manufacturer of a
prescription thyroid medication was accused of suppressing publication of an unfavorable
study it had sponsored The case eventually settled for $l34 million. See fn re Synthroi`a'
Markering ng., 264 F.3d 712 (nh Cir. 2001).

7. I have been successful in obtaining certification of national classes under

both RICO and the consumer protection laws of a single state, including the New Jersey

367427.] 2

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 4 of 61

Consumer Fraud Act, which I believe will be one of the most important battles in this
litigation See fn re American Family Enterprises, MDL Docket No. 1235, 256 B.R. 377
(D. N.J. 2000) (asserting claims under RICO and New Jersey Consumer Fraud Act;
settlement gave defrauded claimants 90% refunds, despite bankruptcy of principal
defendant); Mea'i'match, Inc. v. Lucent Technologi`es, Inc., 120 F. Supp. 2d 842 (N.D. Cal.
2000) (national litigation class later certified under New Jersey Consumer Fraud Act in
unpublished opinion); fn re Synlhroid Markeri`ng Li`rz`g., 188 F.R.D. 295 (N.D. Ill. 1999)
(certifying national litigation class asserting RICO and Illinois consumer fraud claims).
8. For the last several years, l have been involved in litigation arising out of
Califomia’s energy crisis of 2000-01. l was appointed co~lead counsel in Natural Gas
Anti‘trust Cases I-IV, California Judicial Council Coordination Proceeding Nos. 4221, et
al., which settled in November 2003 as to the El Paso Corporation for over Sl.$ billion.
At the time it was negotiated, it was the largest antitrust settlement in United States
history, and remains the largest for either a single defendant or the residents of a single
state. ln approving the settlement and awarding attorneys’ fees, the Coordination Trial
Judge, the Hon. J. Richard Haden, noted that LCHB “effectively handled one-half of the
litigation against the El Paso Defendants.” l argued all of the key motions in the case,
and was principally responsible for the lengthy and difficult settlement negotiations The
success of the case hinged on the recognition of a novel but well-reasoned exception to
the Copperweld doctrine See 111 re Natural Gas Antz`trust Cases I, I], HI & IV, 2002 WL
31570296 (Cal. Superior), 2003-l Trade Cases 1173,959 (Oct. 16, 2002). As far as l

know, it is the only time any court, state or federal, has ever recognized such an

367427.1 3

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 5 of 61

exception ln my opinion, such creative lawyering may be essential to the success of this
litigation.

9. Other recent successes in energy litigation include a $417 million
settlement with The Williams Companies, Iric., approved in June 2004, in Which I was
appointed co-lead counsel for the settlement class. Out of the many experienced and
highly-qualified plaintiffs’ attorneys involved in fn re.' Western States Wholesale Natural
Gns Ann'rrust Lz'tz`g., MDL Docket No. 1566, l was selected to argue the most difficult
and important motionsl The same is true in Wholesale Elecrri`ci`zy Anti`zrust Cases I & II,
California J udicial Council Coordination Proceeding Nos. 4204 & 4205, in which I
successfully argued an appeal to the Ninth Circuit. See People v. NRG Energy, Inc., No.
02-57200 (9th Cir. Dec. 8, 2004).

l declare under penalty of perjury that the foregoing is true and correct. Executed

this Sth day of December, 2004, at San Francisco, California.

BAM"<"{ R.’H'IMMELSTEIN

 

l Formal lead counsel appointments have not yet been made iri these cases, which were remanded on
November 18, 2004. l argued the remand motion.

367427.1 4

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 6 of 61

LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP

Embarcadero Cenrer West 780 Thi‘ra’ Avenue

275 Battery Street, 30111 Floor 481/1 Floor

San Franci`sco, CA 94111-3339 New York, NY 10017-2024
Telephone: (415) 956-1000 Te[ephone,' (212) 355-9500
Facsi`mi`le: (415) 956-1008 Fncsi`mi`le: (212) 355-9592
1100 New York Ave., N. W. 9401 Wi'lshire Bc)nlevnm’
Sut`te 1080 - West Tower Twelfrh Floor

Washt`ngton, DC 20005-3934 Beverly Hills, CA 90212-2997
Telephone: (202) 582-1000 Te1ep1ione.' (310) 275-9400
Facsi'mi'le: (202) 582-1500 Facst'mt'le: (310) 275-9405

3319 West Enn'A\/enue
Suz`fe 600
Nashville, TN 37203-1074
Telephone.‘ (615) 313-9000
Fncsimi'le: (615) 313-9965

E-mail: mail@lchb.com
Websi'te: www.liejcabraser.com

FIRM PROFILE.'

Lieff, Cabraser, Heimann & Bernstein, LLP, is a sixty-four attorney, AV-rated law firm
founded iii 1972 with offices in San Francisco, New York, Washington, D.C., Beverly Hills and
Nashville. For over 30 years, Lieff Cabraser has concentrated its practice in the field of complex
civil litigation, representing plaintiffs in personal injury, products liability and mass tort,
securities and investment fraud, consumer protection, antitrust, environmental and toxic
exposures, employment discrimination and unfair employment practices, aviation law, and civil
and human rights cases. Lieff Cabraser has a diversified caseload that includes the
representation of individuals in personal injury, employment and civil rights actions, private and
public institutions in public health and securities matters, and businesses and consumers in
antitrust cases. The firm has tried and/or settled over 275 class actions.

Lieff Cabraser has served as court-appointed Plaintiffs’ Lead or Class Counsel in state
and federal coordinated, multi-district, and complex litigation throughout the United States.
With co-counsel, we have represented clients worldwide in cases filed in the United States. Our
firm enjoys a national reputation for professional integrity and the efficient and responsible
prosecution of our clients’ claims. We possess the financial resources necessary for the handling
of large, complex cases, and take pride in our cases that have achieved landmark results and
precedent setting rulings

In 2003 and 2004, the Nati`onal Law Journal selected Lieff Cabraser as one of the top 20
plaintiffs' law firms in the nation. fn compiling the list, the Narional Law Journal examined
recent verdicts and settlements in addition to overall track records. The editors also contacted
plaintiff and defense counsel, as well as dozens of corporate general counsel, asking them for the
names of plaintiffs' litigation firms that they would use and recommend

80577.1

CASE PROFILES:

80577.]

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 7 of 61

A. Persgi_ial Inii_iry and Products Liabilitv Litigation

l.

Multi-State Tobacco Litr'gatr'on. Lieff Cabraser represented the
Attomeys’ General of Massachusetts, Louisiana and lllinois, several
additional states, and 18 cities and counties in California, in litigation
against Philip Morris, R.J. Reynolds and other cigarette manufacturers
The suits were part of the landmark $206 billion settlement announced in
November 1998 between the tobacco industry and the states’ attorneys
general. The states, cities and counties sought both to recover the public
costs of treating smoking-related diseases and require the tobacco industry
to undertake extensive modifications of its marketing and promotion
activities in order to reduce teenage smoking In California alone, Lieff
Cabraser’s clients were awarded an estimated $12.5 billion to be paid over
the next 25 years.

Indr'vidual Vehicle Injury Lawsuits. Lieff Cabraser has an active practice
prosecuting claims for clients injured, or the families of loved ones who
have died, by unsafe and defective tires and vehicles. We are representing
clients iri actions involving fatalities and serious injuries due to rollover
accidents of fifteen passenger vans and sports utility vehicles. Plaintiffs
allege that the vans and SUVs were defectively designed because they
pose an unreasonable risk of rollover during foreseeable driving
conditions We also represent clients in several other vehicle injury cases,
including personal injury lawsuits based on allegations that certain models
of the Jeep Grand Cherokee are defectively designed because the vehicle
can shift suddenly from park into reverse, even when the engine is not
running.

In re Simon IILitigation, No. 00-CV-5332 (JBW) (E.D. N.Y.). Lieff
Cabraser serves as Lead Class Counsel for a nationwide, punitive damages
class of cigarette smokers. ln September 2002, U.S. District Court Judge
Jack B. Weinstein certified a class of persons who smoke or smoked
cigarettes, and were first diagnosed by a physician with a qualifying
smoking-related disease on or after April 9, 1993 to the present 1a re
Sz`mon 11 Li'i‘i`gati`on, 211 F.R.D. 86 (E.D. N.Y. 2002). Plaintiffs allege that
the defendant cigarette companies manufactured, marketed and sold their
cigarettes while knowing, but fraudulently denying and concealing, that
they were defective and posed significant health risks to those who used
them. The court’s certification order is limited to punitive damages only ~
the purpose of the case is to prove that the class is entitled to an award of
punitive damages for the serious wrongful conduct of the cigarette
companies The District Court's class certification order is now under
review by the Second Circuit Court of Appeals.

80577.1

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 8 of 61

Fe`n-Phen (“Diet Drugs”) Litigatr'on. In September 1997, the “Fen-Phen”
diet drugs fenfluramine (formeriy sold as Pondimin) and/or
dexfenfluramine (formerly sold as Redux) were withdrawn from the
market. Earlier, in July 1997, Lieff Cabraser filed the first nationwide
class action lawsuit against the diet drug manufacturers alleging that they
had failed to adequately warn physicians and consumers of risks
associated with the drugs. Since the recall was announced, Lieff Cabraser
has represented over 300 individuals Who have suffered heart and/or lung
damage, most often consisting of cardiac valve damage and/or Primary
Pulmonary Hypertension, after ingesting Pondimin or Redux. In addition,
Lieff Cabraser prosecuted class action claims that sought medical
monitoring relief and personal injury damages for Pondimin or Redux
users. ln In re Diet Drugs (Phentermine/Fenjlummine/ Dexfenjluramine)
Producrs Liabflr'ty Litigari`on, MDL No. 1203 (E.D. Pa.), the Court
appointed Elizabeth J. Cabraser to the Plaintiffs’ Management Committee
which organized and directed the Fen-Phen diet drugs litigation filed
across the nation in federal courts. ln August 2000, the Court approved a
$4.75 billion settlement offering both medical monitoring relief for
persons exposed to the drug and compensation for persons with qualifying
damage. Lieff Cabraser also served on the Plaintiffs’ Executive
Committee in the California Coordinated Proceedings in Califoniia state
courtJ and as class counsel iii the State of Washington certified medical
monitoring action. Our firm continues to represent individuals pursuing
personal injury claims We dedicate substantial resources on behalf of and
attention to these clients and are available for confidential consultations
for anyone who ingested Redux or Pondimin.

Sulz,er Hip and Knee Implants Litigation. ln December 2000, Sulzer
Orthopedics, lnc., announced the recall of approximately 30,000 units of
its hiter-Op Acetabular Shell Hip Implant, followed in May 2001 with a
notification of failures of its Natural Knee ll Tibial Baseplate Knee
Implant. ln coordinated litigation in California state court, 1a re Hip
Replacement Cases, JCCP 4165, Lieff Cabraser serves as Court-appointed
Plaintiffs’ Liaison Counsel and Co-Lead Counsel. ln the federal litigation,
111 re Sulzer Hip Prosthesr's and Knee Prosthesi`s Li`abili'ly Li`tigation, MDL
1410, Lieff Cabraser played a significant role in negotiating a revised
settlement with Sulzer valued at more than $1 billion. ln May 2002, the
Court granted final approval to the revised settlement. Lieff Cabraser
serves as Class Counsel for Subclass V of the settlement (class members
with unrevised reprocessed Inter-Op shells).

In re Baycol Products Litigatc'on, MDL No. 1431 (D. Minn.). Baycol is
one of a group of drugs called statins, intended to reduce cholesterol, ln
August 2001 , Bayer A.G. and Bayer Corporation, the manufacturers of
Baycol, withdrew the drug from the worldwide market based upon reports
that Baycol was associated with serious side effects and linked to the
deaths of over 100 patients worldwide. In the federal multi-district

_3_

3057'1.1

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 9 of 61

litigation, Lieff Cabraser serves as a member of the Plaintiffs’ Steering
Committee (PSC) and the Executive Committee of the PSC. ln addition,
Lieff Cabraser represented approximately 200 Baycol patients who have
suffered injuries or family members of patients who died allegedly as a
result of ingesting Baycol. ln these cases, Lieff Cabraser reached
confidential favorable settlements With Bayer.

Blood Factor VIII And Factor IX Litigatc'on. Working with counsel in
Asia, Europe, South America and the Middle East, Lieff Cabraser
represents hundreds of hemophiliacs worldwide, or their survivors and
estates, who contracted HlV and/or Hepatitis C (HCV), and Americans
with hemophilia who contracted HCV, from contaminated and defective
blood factor products produced by American pharmaceutical companies
In 2004, Lieff Cabraser was appointed Plaintiffs’ Lead Counsel of the
“second generation” Blood Factor MDL litigation presided over by Judge
Grady in the Northem District of Illinois. This groundbreaking litigation
follows upon a two-month trial directed by Richard M. Heimann in 2003
in California state court on behalf of a person with hemophilia who is
HlV-positive. Although the jury was unable to render a verdict, the
evidence produced at trial was sufficient to convince the defendant on the
eve of retrial to enter into one of the largest individual settlements in the
history of the blood factor litigation

In re Silicone Gel Breast Implants Products Liability Lc'tigation, MDL
No. 926 (N.D. Ala.). Lieff Cabraser serves on the Plaintiffs’ Steering
Committee and was one of five members of the negotiating corrimittee
which achieved a $4.25 billion global settlement with certain defendants
of the action. This was renegotiated in 1995, and is referred to as the
Revised Settlement Program (“RSP”). Over 100,000 recipients have
received initial payments reimbursement for the explantation expenses
and/or long term benefits

In re T electronics Pacing Systems Inc., Accufrx Atrial “J_'” Leads
Products Liability Litigation, MDL No. 1057 (S.D. Ohio). Lieff Cabraser
served on the court-appointed Plaintiffs’ Steering Committee in a
nationwide products liability action alleging that defendants placed into
the stream of commerce defective pacemaker leads ln April 1997, the
district court re-certified a nationwide class of “J” Lead implantees with
subclasses for the claims of medical monitoring, negligence and strict
product liability. A summary jury trial utilizing jury instructions and
interrogatories designed by Lieff Cabraser occurred in February 1998. A
partial settlement was approved thereafter by the district court, but
reversed by the Court of Appeals. In March 2001, the district court
approved a renewed settlement that included a 558 million fund to satisfy
all past, present and future claims by patients for their medical care,
injuries, or damages arising from the lead.

80577.1

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 10 of 61

10.

ll.

12.

In re Felbatol Products Liability Litl`gation, MDL No. 1048 (N.D. Cal.).
Lieff Cabraser served as Co-Lead Class Counsel and Plaintiffs’ Liaison
Counsel in this nationwide litigation asserting medical monitoring,
compensatory and punitive damages claims on behalf of 100,000 users of
the anti-epilepsy drug Felbatol, who alleged present and potential injuries
from its serious adverse effects, including liver failure and aplastic
anemia. The nationwide Plaintiff class was certified on March 15, 1995;
certification was vacated for further findings by the Ninth Circuit in
Valenti`no v. Carter- Wallace, 97 F.3d 1277l (9th Cir. 1996), which
affirmed the viability of nationwide mass tort class actions The litigation

was settled favorably on behalf of all major injury claimants in March
1997.

In re Cordr's Pacemaker Product Liabilily Litigation, MDL No. 850
(S.D. Ohio). Lieff Cabraser represented a certified nationwide class of
Cordis pacemaker recipients on personal injury, emotional distress, fraud,
equitable relief, and pacemaker explant compensation claims In 1995,
shortly before trial, Lieff Cabraser negotiated and obtained Court approval
of a $21 million settlement of the action.

In re Copley Pkarmaceutical, Inc., ‘Mlbuterol” Products Liabilily
Litigation, MDL No. 1013 (D. Wyo.). Lieff Cabraser served on the
Plaintiffs’ Steering Committee in a class action lawsuit against Copley
Pharrnaceutical, which manufactured Albuterol, a bronchodilator
prescription pharmaceutical Albuterol was the subject of a nationwide
recall in January 1994 after a microorganism was found to have
contaminated the solution, allegedly causing numerous injuries including
bronchial infections, pneumonia, respiratory distress and, in some cases,
death. In October 1994, the district court certified a nationwide class on
liability issues 111 re Copley Pharmaceuti'cal, 161 F.R.D. 456 (D. Wyo.
1995). ln November 1995 , the district court approved a 3150 million
settlement of the litigation

B. Securities and Investment Fraud

l.

In re Scorpion Technologies, Inc. Securities Litc'gation I, No. C-93-
20333-EA1 @l.D. Cal.); Dietrr'ch v. Bauer, No. C-95-7051-RWS
(S.D.N.Y.); Claghom v. Edsaco, No. 98-3039-SI (N.D. Cal.). Lieff
Cabraser served as Co-Lead Counsel in class action suits arising out of an
alleged fraudulent scheme by Scorpion Technologies, lnc., certain of its
officers, accountants, underwriters and business affiliates to inflate the
company’s earnings through reporting fictitious sales ln Scorpi`on 1, the
Court found plaintiffs had presented sufficient evidence of liability under
Federal securities acts against the accounting firm Grant Thornton for the
case to proceed to trial. fn re Scorpi'on Techs., 1996 U.S. Dist. LEXIS
22294 (N.D. Cal. Mar. 27, 1996). In 1988, the Court approved a $5.5
million settlement with Grant Thornton. ln 2000, the Court approved a

_5_

Case 1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 11 0161

80577.1

$950,000 settlement with Credit Suisse First Boston Corporation. ln April
2002, a federal jury in San Francisco, California returned a $170.7 million
verdict against Edsaco Ltd. The jury found that Edsaco aided Scorpion in
setting up phony European companies as part of scheme in which
Scorpion reported fictitious sales of its software to these companies
thereby inflating its earnings Included in the jury verdict, one of the
largest verdicts in a securities fraud suit in the U.S. in 2002, was $165
million in punitive damages Richard M. Heimann conducted the trial for
plaintiffs

Following the Edsaco trial, the parties reached a settlement of the action
on favorable monetary terms to the class, which included Edsaco’s
relinquishment of its right to appeal and the plaintiffs agreement to vacate
the jury verdict. On June 14, 2002, U.S. District Court Judge Susan lllston
commented on Lieff Cabraser’s representation: “[C]ounsel for the
plaintiffs did a very good job in a very tough situation of achieving an
excellent recovery for the class here. You were opposed by extremely
capable lawyers lt was an uphill battle. There were some complicated
questions, and then there was the tricky issue of actually collecting
anything in the end l think based on the efforts that were made here that
it was an excellent result for the class . . . [T]he recovery that was
achieved for the class in this second trial is remarkable, almost a hundred
percent.”

In re Network Assocr'ates, Inc. Securities Litigation, No. C~99-l729-
WHA (N.D. Cal.). Following a competitive bidding process, the Court
appointed Lieff Cabraser as Lead Counsel for the Lead Plaintiff and the
class of investors The complaint alleged that Network Associates
improperly accounted for acquisitions in order to inflate its stock price. In
May 2001, the Court granted approval to a $30 million settlement.

ln reviewing the Network Associ`ates settlement, U.S. District Court Judge
William H. Alsup observed, “[T]he class was well served at a good price
by excellent counsel . . . We have class counsel who’s one of the most
foremost law firms in the country in both securities law and class actions
And they have a very excellent reputation for the conduct of these kinds of
cases and their experience and views . . .”

In re California Micro Devices Securitr'es Litigation, No. C-94-2817-
VRW (N.D. Cal.). Lieff Cabraser served as Liaison Counsel for the
Colorado Public Employees’ Retirement Association and the California
State Teachers’ Retirement Systern, and the class they represented Prior
to 2001, the Court approved 319 million in settlements On May 24, 2001,
the Court approved an additional settlement of $12 million, which,
combined with the earlier settlements, provided class members an almost
complete return on their losses The settlement with the company

16_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 12 0161

80577.l

included multi-million dollar contributions by the former Chairman of the
Board and Chief Executive Officer.

Commenting in 2001 on Lieff Cabraser’s work in Cal Micro Devices, U.S.
District Court Judge Vaughn R. Walker stated, “It is highly unusual for a
class action in the securities area to recover anywhere close to the
percentage of loss that has been recovered here, and counsel and the lead
plaintiffs have done an admirable job in bringing about this most
satisfactory conclusion of the litigation.” One year later, in a related
proceeding and iri response to the statement that the class had received
nearly a 100% recovery, Judge Walker observed, “That’s pretty
remarkable In these cases, 25 cents on the dollar is considered to be a
magnificent recovery, and this is [almost] a hundred percent.”

In re FPI/Agretech Securr'ties Liti`gatr'on, MDL No. 763 (D. Haw,,

Real, J.). Lieff Cabraser served as Lead Class Counsel on behalf of
multiple classes of investors defrauded in a limited partnership investment
scheme. The Court approved $15 million in partial pretrial settlements At
trial, the jury returned a 325 million verdict, which included $10 million in
punitive damages plus costs, interest, and attorneys’ fees, against non-
settling defendant Arthur Young & Co. on securities and tort claims
arising from its involvement in the fraud Richard M. Heimann served as
Lead Trial Counsel in the class action trial. On appeal, the compensatory
damages judgment was affirmed and the case was remanded for retrial on
punitive damages In December 1994, the Court approved a 517 million
class settlement with Ernst & Young.

Kofuku Bank Ltd. and Namihaya Bank Ltd. v. Republic New York
Securi'tr'es Corp., et al., No. 00 CIV 3298 (S.D.N.Y.); and Kita Hyogo
Shinyo-Kumiai v. Republic New York Securities Corp., et al'., No. 00
CIV 4114 (S.D.N.Y.). Lieff Cabraser represented Kofuku Bank,
Namihaya Bank and Kita Hyo go Shinyo-Kumiai (a credit union) in
individual lawsuits against, among others, Martin A. Armstrong and
HSBC, Inc., the successor-in-interest to Republic New York Corporation,
Republic New York Bank and Republic New York Securities Corporation
for alleged violations of federal securities and racketeering laws Through
a group of interconnected companies owned and controlled by Armstrong
-the Princeton Companies - Armstrong and the Republic Companies
promoted and sold promissory notes, known as the"‘Princeton Notes,” to
more than eighty of the largest companies and financial institutions in
Japan. Lieff Cabraser’s lawsuits, as well as the lawsuits of dozens of other
Piinceton Note investors alleged that the Princeton and Republic
Companies made fraudulent misrepresentations and non-disclosures in
connection with the promotion and sale of Princeton Notes, and that
investors’ moneys were commingled and misused to the benefit of
Armstrong, the Princeton Companies and the Republic Companies ln
December 2001, the claims of our clients and those of the other Princeton

-7_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 13 0161

80577.1

Note investors were settled As part of the settlement, our clients
recovered more than $50 million, which represents 100% of the value of
their principal investments less money they received in interest or other

payments

Merrill Lynch Fundamental Growth Fund and Merrill Lynch Global
Value Fund, Inc., v. McKesson HBOC, Inc., et al., No. 02-405792 (Cal.
Superior Ct.). Lieff Cabraser serves as counsel for two Merrill Lynch
mutual funds iri a private lawsuit filed alleging that a massive accounting
fraud occurred at HBOC & Company (“HBOC”) before and following its
1999 acquisition by McKesson Corporation (“McKesson”). The funds
charge that defendants including the former CFO of McKesson HBOC,
the name McKesson adopted after acquiring HBOC, artificially inflated
the price of securities in McKesson HBOC, through misrepresentations
and omissions concerning the financial condition of HBOC, resulting in
approximately $150 million in losses for plaintiffs Iri a significant
discovery ruling in 2004, the California Court of Appeal held that
defendants waived the attorney-client and work product privileges in
regard to an audit committee report and interview memoranda prepared in
anticipation of shareholder lawsuits by disclosing the information to the
U.S. Attorney and SEC. McKesson HBOC, Inc. v. Superior Court, 115
Cal. App. 4th 1229 (2004).

Albert, et al. v. Alex. Brown Management Services, Inc., et al.,' Baker ,
et al. v. Alex. Brown Management Services, Inc., et al. (Del. Superior
Court). In May 2004, on behalf of investors in two investment funds
controlled, managed and operated by Deutsche Bank and advised by DC
Investment Partners, Lieff Cabraser filed lawsuits for alleged fraudulent
conduct that resulted in an aggregate loss of hundreds of millions of
dollars The suits name as defendants Deutsche Bank and its subsidiaries
Alex Brown Management Services and Deutsche Bank Securities,
members of the funds’ management committee, as well as DC Investments
Partners and two of its principles Among the plaintiff-investors are 70
high net worth individuals

Allocco et al. v. Gardner et al., No. Case No. GIC 806450 (Cal. Superior
Ct.). Lieff Cabraser represents Lawrence L. Garlick, the co-founder and
fenner Chief Executive Officer of Remedy Corporation and 24 other
former senior executives and directors of Remedy Corporation in a private
(non-class) securities fraud lawsuit against Stephen P. Gardner, the former
Chief Executive Officer of Peregrine Systems, Inc., John J. Moores,
Peregrine’s former Chairman of the Board, Matthew C, Gless, Peregrine’s
former Chief Financial Officer, Peregrine’s accounting firm Arthur
Andersen and certain entities that entered into fraudulent transactions with
Peregrine. The lawsuit, filed in California state court, arises out of
Peregrine's August 2001 acquisition of Remedy. Plaintiffs charge that
they were induced to exchange their Remedy stock for Peregrine stock on

_3_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 14 0161

80577.1

10.

11.

12.

the basis of false and misleading representations made by defendants
Within months of the Remedy acquisition, Peregrine began to reveal to the
public that it had grossly overstated its revenue during the years 2000-
2002, and eventually restated more than 3500 million in revenues

In re National Century Financr'al Enterprr`ses, Inc. Investment
Litigatr'on, MDL 1565 (S.D. Ohio). Lieff Cabraser serves as Lead
Counsel for the New York City Employees’ Retirement System, Teachers’
Retirement System for the City of New York, New York City Police
Pension Fund, and New York City Fire Department Pension Fund in a
securities fraud and breach of fiduciary duties lawsuit against Bank One,
JPMorgan Chase Bank, Credit Suisse First Boston LLC, and additional
defendants The complaint charges that plaintiffs suffered 589 million in
losses as a result of a massive Ponzi scheme orchestrated and implemented
by National Century Financial Enterprises and defendants

Alaska State Department ofRevenue, et al. v. America Online, Inc., et
al., No. l.lU-04-503 (Alaska Superior Ct.). Serving as co-counsel with
the Alaska Attomey General, Lieff Cabraser filed a complaint in April
2004 against America Online, Inc., Time Warner, lnc., Ernst & Young,
Morgan Stanley, and certain current and former officers and directors
The complaint alleges that several State of Alaska funds incurred
substantial losses in their investments in AOL and Time Warner stock
because the defendants misrepresented revenues and subscriber numbers
before and after the merger of AOL and Time Warner.

Informix/Illustra Securities Litigation, No. C-97-1289-CRB (N.D. Cal.).
Lieff Cabraser represented Richard H. Williams, the former Chief
Executive Officer and President of Illustra lnfonnation Technologies, Inc.
(“lllustra”), and a class of Illustra shareholders in a class action suit on
behalf of all former Illustra securities holders who tendered their Illustra
preferred or common stock, stock warrants or stock options in exchange
for securities of Infonnix Corporation (“lnformix”) in connection with
lnformix’s 1996 purchase of Illustra. Pursuant to that acquisition, Illustra
stockholders received Informix securities representing approximately 10%
of the value of the combined company. The complaint alleged claims for
common law fraud and violations of F ederal securities law arising out of
the acquisition In October 1999, U.S. District Judge Charles E. Breyer
approved a global settlement of the litigation for 3136 million, constituting
one of the largest settlements ever involving a high technology company
alleged to have committed securities fraud Our clients the Illustra
shareholders received approximately 30% of the net settlement fund.

In re Transmeta Corparation Securiti'es Litigation, No. C 01-02450
WHA (N.D. Cal.). Lieff Cabraser served as Lead Counsel in a class
action lawsuit against Transmeta Corporation and several of its officers
and directors for alleged violations of federal securities laws Plaintiffs

_9_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 15 0161

8057741

13.

14.

15.

allege that defendants misrepresented both the capabilities and
performance of Transmeta’s principal product, the “Crusoe” line of
microprocessors and the company’s true financial condition and business
prospects in order to artificially inflate and maintain the price of
Transmeta’s stock. In March 2003, the Court granted final approval to a
$5.5 million settlement.

In re Media Visr`on Technology Securities Litigation, No. CV-94-1015
(N.D.Cal.). Lieff Cabraser serves as Co-Lead Counsel in a class action
lawsuit which alleged that certain of Media Vision's officers outside
directors accountants and underwriters engaged in a fraudulent scheme to
inflate the company’s earnings and issued false and misleading public
statements about the company's finances earnings and profits By 1998,
the Court had approved several partial settlements with many of Media
Vision’s officers and directors accountants and underwriters which
totalled $31 million. The settlement proceeds have been distributed to
eligible class members The evidence that Lieff Cabraser developed in
the civil case led prosecutors to commence an investigation and ultimately
file criminal charges against Media Vision's former Chief Executive
Officer and Chief Financial Officer. The civil action against Media
Vision's CEO and CFO was stayed pending the criminal proceedings
against them. ln the criminal proceedings the CEO pled guilty on several
counts and the CFO was convicted at trial. In October, 2003, the Court
granted Plaintiffs’ motions for summary judgment and entered a judgment
in favor of the class against these two defendants in the amount of $188
million.

In re Pre-Paid Legal Services, Inc., No. 02-0273-€ (RJC) (W.D. Okla.).
On behalf of persons who purchased an “Opportunity” from Pre-Paid
Legal Services, Inc. to sell “legal insurance plans” issued by Pre-Paid
Legal Services, Inc. and to recruit others into the same program. Lieff
Cabraser serves as Lead Counsel in a class action lawsuit against Pre-Paid
and certain of its officers for violations of the Securities Act of 1933,
certain Oklahoma statutes and various common-law claims The
complaint alleges that the purchase of Pre-Paid's “Opportunity” is an
investment contract security, which is fraudulently marketed and sold as
part of an alleged unlawful pyramid scheme.

Nguyen v. FundAmerica, No. C-90-2090 MHP (N.D. Cal., Patel, J.),
1990 Fed. Sec. L. Rep. (CCH) 1111 95,497, 95,498 G\I.D. Cal. 1990). Lieff
Cabraser served as Plaintiffs’ Class Counsel in this securities/RICO/tort
action seeking an injunction against alleged unfair “pyramid” marketing
practices and compensation to participants The District Court certified a
nationwide class for injunctive relief and damages on a mandatory basis
and enjoined fraudulent overseas transfers of assets The Bankruptcy
Court permitted class proof of claims Lieff Cabraser obtained dual

_](]-

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 16 0161

80577.1

16.

17.

District Court and Bankruptcy Court approval of settlements distributing
over $13 million in FundAmerica assets to class members

In re First Capr'tal Holdi'ngs Corp. F imm cial Products Securr'ties
Litr`gation, MDL No. 901 (C.D. Cal.). Lieff Cabraser served as Co-Lead
Counsel in a class action brought to recover damages sustained by
policyholders of First Capital Life lnsurance Company and Fidelity
Bankers Life lnsurance Company policyholders resulting from the
insurance companies’ allegedly fraudulent or reckless investment and
financial practices and the manipulation of the companies’ financial
statements This policyholder settlement generated over $1 billion in
restored life insurance policies and was approved by both federal and
state courts in parallel proceedings and then affirmed by the Ninth Circuit
on appeal.

In re Precious Metals Dealers/Safrabank Securin'es Litigation, MDL
No. 804 (C.D. Cal.) Lieff Cabraser served as Lead Counsel for a class of
purchasers who were allegedly fraudulently induced to purchase precious
metal through similar high pressure sales pitches. The case resulted in a
310 million settlement.

C. Employment Discrimination and Ui@ir Emplovmei_it Practices

1,

Butler v. Home Depot, No. C94-4335 Sl (N.D. Cal.). Lieff Cabraser and
co-counsel represented a class of approximately 25,000 female employees
and applicants for employment with Home Depot’s West Coast Division
who alleged gender discrimination in connection with hiring, promotions
pay, job assignment, and other terms and conditions of employment The
class was certified in January 1995. ln January 1998, the Court approved
a $87.5 million settlement of the action that included comprehensive
injunctive relief over the term of a five-year Consent Decree. Under the
terms of the settlement, Home Depot committed to modify its hiring,
promotion, and compensation practices to ensure that interested and
qualified women will be hired for, and promoted to, sales and
management positions

On January 14, 1998, U.S. District Judge Susan Illston commented that
the settlement provides "a very significant monetary payment to the class
members for which I think they should be grateful to their counsel, but
even more significant is the injunctive relief that's provided for . . ." By
2003, the injunctive relief created thousands of new job opportunities in
sales and management positions at Home Depot, generating the equivalent
of over approximately $100 million per year in wages for female
employees

Frank v. UnitedAirlines, Inc., No. C-92-0692 MJJ' (N.D. Cal.). Lieff
Cabraser and co-counsel obtained a $36.5 million settlement in February

_11_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 17 0161

805771

2004 for a class of female flight attendants who were required to weigh
less than comparable male flight attendants

Former U.S. District Court Judge Charles B. Renfrew (ret.), who served as
a mediator in the case, stated, “As a participant in the settlement
negotiations I am familiar with and know the reputation, experience and
skills of lawyers involved They are dedicated, hardworking and able
counsel who have represented their clients very effectively.” U.S. District
Judge Martin J. Jenkins, in granting final approval to the settlement, found
“that the results achieved here could be nothing less than described as
exceptional,” and that the settlement “was obtained through the efforts of
outstanding counsel.” Judge Jenkins observed that Lieff Cabraser partner
J ames Finberg “in particular, and his firm, iri particular, are very
sophisticated in handling matters of this type.

Barnett v. Wal-Mart, No. 01-2-24553-SNKT (Wash.); Gamble v. Wal-
Mart, No. 7121-01 (N.Y.). Lieff Cabraser and co-counsel represent
proposed classes of hourly wage earners at Wal-Mart in Washington and
New York who allegedly have been forced to work “off-the-clock”
(without pay). Plaintiffs, current and former Wal Mart employees allege
that, in violation of state wage and hour laws Wal-Mart forces employees
to work through breaks and to work without pay after they have clocked
out. In October 2004, in the Washington Wal-Mart action, the Court
certified a class of approximately 40,000 current and former Wal-Mart
employees

In Re Farmers lnsurance Exchange Claims Representatives ’ Overtr'me
Pay Litigation, MDL No. 1439 (D. Or.). Lieff Cabraser and co-counsel
represent personal lines claims representatives of Farmers’ lnsurance
Exchange seeking unpaid overtime. In November 2003, after a three week
liability phase trial, the Court held that Farmers’ claims adjusters who
handle auto and low level property claims are entitled to overtime. 300
F.Supp. 2d 1020 (2003). The Court further found that Farmers' actions
were willful and were not taken in good faith, entitling plaintiffs to seek
double damages on the lost overtime wages during the upcoming damages
phase of the trial. Lieff Cabraser partner J ames M. Finberg serves as one
of the lead trial counsel for plaintiffs

Gonzalez et al. v. Abercrombr'e & Fitch Stores, Inc. et al., No. C03-2817
SI (N.D. Cal.). A settlement has been reached, valued at approximately
350 million, which requires the retail clothing giant Abercrombie & Fitch
to provide monetary benefits of $40 million to the class of Latino, African
American, Asian American and female applicants and employees who
charged the company with discrimination The settlement also requires the
company to institute a range of policies and programs to promote diversity
among its workforce and to prevent discrimination based on race or
gender. The class action received significant nationwide publicity,

_12_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 18 0161

80577.1

including a profile on 60 Minures. Lieff Cabraser serves as Class Co-
Counsel with the Mexican American Legal Defense and Educational
Fund, the Asian Pacific American Legal Center and the NAACP Legal
Defense and Educational Fund, Inc.

Trotter v. Perdue Farms, Inc., No. C 99-893-RRM (JJF) (MPT) (D. Del.).
Lieff Cabraser represented a class of chicken processing employees of
Perdue Farms, lnc., one of the nation’s largest poultry processors for
wage and hour violations The suit challenged Perdue’s failure to
compensate its assembly line employees for putting on, taking off, and
cleaning protective and sanitary equipment in violation of the Fair Labor
Standards Act, various state wage and hour laws and the Employee
Retirement Income Security Act. ln October, 2002, the Court granted
final approval of a settlement resolving the action Under the settlement,
Perdue paid 310 million for wages lost by its chicken processing
employees and attorneys’ fees and costs The settlement was in addition
to a 310 million settlement of a suit brought by the Department of Labor in
the wake of Lieff Cabraser’s lawsuit.

Gottlieb v. SBC Communications, No. CV-00-04l39 AHM (MANx)
(C.D. Cal.). With co-counsel, Lieff Cabraser represented current and
former employees of SBC and Pacific Telesis Group (“PTG”) who
participated in AirTouch Stock Funds which were at one time part of
PTG’s salaried and non-salaried savings plans After acquiring PTG,
SBC sold AirTouch, which PTG had owned, and caused the AirTouch
Stock Funds that were included in the PTG employees’ savings plans to be
liquidated Plaintiffs allege that in eliminating the AirTouch Stock Funds
and in allegedly failing to adequately communicate with employees about
the liquidation, SBC breached its duties to 401 k plan participants under
the Employee Retirement Income Security Act. In 2002, the Court
granted final approval to a 310 million settlement for all PTG salaried and
non-salaried plan participants who had a balance in AirTouch Stock Funds
on December 31, 1997.

Thomas v. California State Automobile Association, No. CH217752
(Cal. Superior Court, Alameda County). With co-counsel, Lieff Cabraser
represented 1,200 current and former field claims adjusters who worked
for the California State Automobile Association (“CSAA”). Plaintiffs
alleged that CSAA improperly classified their employees as exempt,
therefore denying them overtime pay for overtime worked ln May 2002,
the Court approved an 38 million settlement of the case.

Church v. Consolidated Freightways, No. C90-2290 DLJ (N.D. Cal.).
Lieff Cabraser was the Lead Court-appointed Class Counsel in this class
action on behalf of the exempt employees of Emery Air Freight, a freight
forwarding company acquired by Consolidated Freightways in 1989. On
behalf of the employee class Lieff Cabraser prosecuted claims for

_13_

` Case1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 19 0161

80577.1

10.

ll.

12.

13.

14.

violation of the Employee Retirement Income Security Act (“ERISA”),
the securities laws and the Age Discrimination in Employment Act
(“ADEA”). The case settled in 1993 for 313.5 million

Buttram v. UPS, Inc., No. C-97-01590 MJJ (N.D. Cal.). LieffCabraser
and several co-counsel represented a class of approximately 14,000
African-American part-time hourly employees of UPS’s Pacific and
Northwest Regions alleging race discrimination in promotions and job
advancement In 1999, the Court approved a 312. 14 million settlement of
the action Under the injunctive relief portion of the settlement, among
other things Class Counsel continues to monitor the promotions of
African-American part-time hourly employees to part-time supervisor and
full-time package car driver.

Lyon v. TMP Worldwc'de, Inc., No. 993096 (San Francisco Superior Ct.).
Lieff Cabraser served as Class Counsel for a class of certain non-
supervisory employees in an advertising firm. The settlement, approved in
2000, provided almost a 100% recovery to class members The suit
alleged that TMP failed to pay overtime wages to these employees

Kahn v. Denny’s, No. BC177254 (Los Angeles Superior Ct.). Lieff
Cabraser brought a lawsuit alleging that Deriny’s failed to pay overtime
wages to its General Managers and Managers who worked at company-
owned restaurants in Califomia. The Court certified the class and the case
settled in 2000 for 34 million

Foster v. T he Great Atlantic & Pacific Tea Company, Inc. (“A&P”), No.
99 Civ. 3860 (CM) (S.D.N.Y.). Lieff Cabraser, along with co-counsel,
represented approximately 870 current and former employees of New
York area supermarkets suing under the Fair Labor Standards Act. The
Opt-In Plaintiffs in the certified collective action sought unpaid overtime
compensation resulting from Defendants' alleged failure to compensate
employees for work performed “off-the-clock.” ln May 2004, the Court
approved a settlement providing 33.11 million to the Opt-In Plaintiffs In
June 2004, Lieff Cabraser filed a new lawsuit against defendants in New
York state court seeking certification of a class of current and former full-
time hourly employees of The Great Atlantic & Pacific Tea Company, Inc.
in New York for past six years The plaintiffs allege that defendants fail
to pay overtime wages and delete hours actually worked from time records
in violation of New York labor law.

Satchell, et al. v. FedEx Express No. C 03-2659 Sl; C 03-2878 SI (N.D.
Cal.). Lieff Cabraser, with co-counsel, represents African American and
Latino employees of FedEx Express in its Western Region in a class
action lawsuit. Plaintiffs allege that FedEx Express has discriminated
against minority employees on the basis of race with respect to initial job
assignment, compensation promotion and discipline.

_14_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004` Page 20 0161

15_

16.

17.

Giles v. Allstate, JCCP Nos 2984 and 2985. Lieff Cabraser represented a
class of Allstate insurance agents seeking reimbursement of out-of-pocket
costs The action settled for approximately 340 million

Bogan v. Fleetwood Enterprises, Inc., No. CIV 00-0440-S-BLW (D.
ldaho). Lieff Cabraser, along with co-counsel, represents a nationwide
class of women production associates Who allegedly have been
discriminated against on the basis of sex with respect to promotions and
compensation and who allegedly have been subjected to rampant sexual
harassment ln 2002, the Court approved a settlement that included
comprehensive injunctive relief.

Dupree v. T he Prudential lnsurance Co., et al., No. 99-8337-CIV (AJ])
(S.D. Fla.) With co-counsel, Lieff Cabraser represents a group of retired
employees of Prudential who are participants in Prudential’s Retirement
Plan. The Plan provides pension benefits to thousands of retirees who used
to work for Prudential. Those benefits are protected by a federal statute
called the Employee Retirement Income Security Act (ERISA), which was
enacted by Congress to prevent employers from exercising improper
control over the assets of their retirement plans The plaintiff retirees
allege that Prudential violated ERISA by using (and continuing to use) the
Retirement Plan’s assets to benefit Prudential, instead of its retirees Trial
commenced on February 17, 2004, and concluded in March. Closing
arguments are scheduled for January 2005. Plaintiffs request that the
Court make Prudential restore to all Plan participants the funds allegedly
taken out of the Retirement Plan in violation of the law.

Lieff Cabraser attorneys have also had experience working on several other employment
cases including cases involving race, gender, and age discrimination ERISA, breach of contract
claims and wage/hour claims Lieff Cabraser attorneys frequently write amici briefs on cutting-
edge legal issues involving employment law. Lieff Cabraser is currently investigating charges of
race, gender and/or age discrimination and wage/hour violations against several companies

D. Consumer Protection

l.

805‘17.1

Avery v. State Farm Mutual Auto lnsurance Co., No. 97-L-114
(Williamson County Circuit Ct., Ill.). With co-counsel, Lieff Cabraser
challenged State Farm’s practice of specifying non-original-equipment
manufacturer (non-OEM) imitation “crash” parts on repair estimates for
millions of its insureds’ vehicles Trial in the case commenced on August
10, 1999. On October 4, 1999, the jury awarded 3456 million in
compensatory damages to plaintiffs for their breach of contract claim. On
October 8, 1999, the trial court agreed that State Farm had breached its
contract and found that State Farrn’s practice of using imitation parts and
claiming they were of like kind and quality violated the Illinois Consumer
Fraud Act. The trial court awarded an additional 3130 million in
compensatory damages and ordered State Farm to pay an additional 3600

_15_

Case 1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 21 0161

80577.1

million in punitive damages State Farm appealed the judgmentl On April
5, 2001, the Appellate Court of Illinois iri a unanimous opinion, upheld
the verdict. 321 Ill. App. 3d 269; 746 N.E.2d 1242 (2000). The Appellate
Court found no error in either the trial of the action as a class action or the
conduct of the trial court. The Appellate Court, however, reduced the
original 31 .18 billion judgment entered by the trial court by 3130 million
to subtract what it felt was an overlapping award on the two separate
counts The'total remaining award of 31 .05 billion is one of the largest
verdicts ever upheld on appeal The case is now pending before the
Illinois Supreme Court. l

Providian Credit Card Cases, No. JCCP 4085 (San Francisco Superior
Ct.). Lieff Cabraser served as Co-Lead Counsel for a certified national
Settlement Class of Providian credit cardholders who alleged that
Providian had engaged in widespread misconduct by charging cardholders
unlawful, excessive interest and late charges and by promoting and selling
to cardholders “add-on products” promising illusory benefits and services
In November 2001, the Court granted final approval to a 3105 million
settlement of the case, which also required Providian to implement
substantial changes iri its business practices The 3105 million settlement,
combined with an earlier settlement by Providian with Federal and state
agencies represents the largest settlement ever by a U.S. credit card
company in a consumer protection case.

In re Trr'-State Crematory Litigarr'on, MDL No. 1467 (N.D. Ga.). ln
March 2004, trial commenced with Lieff Cabraser partner Kathryn E.
Barnett delivering the opening statement in a class action by families
whose loved ones were improperly cremated and desecrated by Tri-State
Crematory in Noble, Georgia. The families also asserted claims against
the funeral homes that delivered the decedents to Tri-State Crematory for
failing to ensure that the crematory performed cremations in the manner
required under the law and by human decency. One week into trial,
settlements with the remaining funeral home defendants were reached and
brought the settlement total to approximately 337 million Since March
2004, all of the settlements with the funeral homes have been preliminarily
or finally approved The Marsh defendants the operators of Tri-State
Crematory, however, withdrew from the tentatively approved settlement.
Trial on the class members' claims against the Marsh defendants began in
August 2004. Soon thereafter, the Marsh defendants entered into a 380
million settlement with plaintiffs As part of the settlement, all buildings
on the Tri-State property will be razed. The property will remain in a trust
so that it will be preserved in peace and dignity as a secluded memorial to
those whose remains were mistreated, and to prevent crematory operations
or other inappropriate activities from ever taking place there. Earlier in
the litigation, the Court granted plaintiffs’ motion for class certification in
a published order, 215 F.R.D. 660 (2003).

_16-

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 22 0161

80577.1

Kline v. T he Progressive Corporation, Circuit No.: 02-L-6 (Circuit Court
of the First J udicial Circuit, Johnson County, Illinois). Lieff Cabraser
served as settlement class counsel in a nationwide consumer class action
challenging Progressive Corporation’s private passenger automobile
insurance sales practices Plaintiffs alleged that the Progressive
Corporation wrongfully concealed from class members the availability of
lower priced insurance for which they qualified ln 2002, the Court
approved a settlement valued at approximately 3450 million, which
included both cash and equitable relief. The claims program, implemented
upon a nationwide mail and publication notice program, was completed in
2003.

Citigroup Loan Cases, JCCP No. 4197 (San Francisco Superior Ct.). ln
2003, the Court approved a settlement that provided approximately 3240
million in relief to fenner Associates’ customers across America. Prior to
its acquisition in November 2000, Associates First Financial, referred to as
The Associates was one of the nation’s largest “subprime” lenders Lieff
Cabraser represented fenner customers of The Associates charging that
the company added on mortgage loans unwanted and unnecessary
insurance products and engaged in improper loan refinancing practices

In re Synthroid Marketing Litigation, MDL No. 1182 (N.D. Ill.). Lieff
Cabraser served as Co-Lead Counsel for the purchasers of the thyroid
medication Synthroid in litigation against Knoll Pharmaceutical, the
manufacturer of Synthroid The lawsuits charged that Knoll misled
physicians and patients into keeping patients on Synthroid despite
knowing that less costly, but equally effective drugs were available. In
2000, the District Court gave final approval to a 387,4 million settlement
with Knoll and its parent company, BASF Corporation, on behalf of a
class of all consumers who purchased Synthroid at any time from 1990 to
1999. In 2001, the Court of Appeals upheld the order approving the
settlement and remanded the case for further proceedings 264 F. 3d 712
(7th Circ. 2001). The settlement proceeds were distributed in 2003.

In re chen Federal Bank FSB Mortgage Servicing Litigation, MDL
No. 1604 (Northem District of Illinois). Lieff Cabraser serves as Co-Lead
Plaintiffs’ Counsel in a nationwide class action against chen Financial
Corporation, chen Federal Bank FSB, and their affiliates ("chen").
This lawsuit arises out of charges against chen of misconduct in
servicing its customers' mortgage loans and in its provision of certain
related services including debt collection and foreclosure services

Curry v. Fairbanks Capitul Corporation, No. 03-10895-DPW (D.

Mass.). In 2004, the Court approved a 355 million settlement of a class
action lawsuit against Fairbanks Capital Corporation arising out of charges
against Fairbanks of misconduct in servicing its customers’ mortgage
loans The settlement also required substantial changes

_17_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 23 0161

80577.1

10.

ll.

in Fairbanks’ business practices and established a default resolution
program to limit the imposition of fees and foreclosure proceedings
against Fairbanks' customers Lieff Cabraser served as nationwide Co-
Lead Counsel for the homeowners

Reverse Mortgage Cases, JCCP No. 4061 (San Mateo County Superior
Ct., Cal.). Transamerica Corporation, through its subsidiary Transamerica
Homefirst, Inc., sold “reverse mortgages” marketed under the trade name
“Lifetime.” The Lifetime reverse mortgages were sold exclusively to
seniors, i`.e., persons 65 years or older. Lieff Cabraser, with co-counsel,
filed suit on behalf of seniors alleging that the terms of the reverse
mortgages were unfair, and that borrowers were misled as to the loan
terms including the existence and amount of certain charges and fees In
2003, the Court granted final approval to an 38 million settlement of the
action

Fischl v. Direct Merchants Credit Card Bank, N.A. , Metris Companr`es
and Mem's Direct, No. CT 00-007129 (Hennepin County District Ct.,
Minn.). Lieff Cabraser served as Plaintiffs’ Co-Counsel in a national
consumer class action filed on behalf of millions of Direct Merchants’
credit cardholders who allege that defendants engaged in unfair, deceptive
and misleading practices and violated state consumer protection statutes in
connection with the sale and marketing of their credit cards and fee based
services and products In 2002, the Court granted final approval to a
settlement that requires defendants to modify or cease certain business
practices offer certain free products services or benefits to former
cardholders or ServiceEdge members who are not current cardholders; and
offer participation in a Customer Satisfaction Guarantee Program to
current cardholders in which current cardholders may resolve the
complaints including for monetary credits in an amount between 310.00
and 370.00.

In re American Famr'ly Enterprises, MDL No. 1235 (D. N.J.), Lieff
Cabraser served as co-lead counsel for a nationwide class of persons who
received any sweepstakes materials sent under the name “American
Farnily Publishers.” The class action lawsuit alleged that

defendants deceived consumers into purchasing magazine subscriptions
and merchandise in the belief that such purchases were necessary to win
an American Family Publishers’ sweepstakes prize or enhanced their
chances of winning a sweepstakes prize. ln September 2000, the Court
granted final approval of a 333 million settlement of the class action. In
April 2001, over 63,000 class members received refunds averaging over
3500 each, representing 92% of their eligible purchases ln addition,
American Family Publishers agreed to make significant changes to the
way it conducts the sweepstakes

_18_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 24 0161

80577.1

12.

13.

14.

In re Sears Automotr've Center Consumer Lin'gation, Civ, No. C-92-2227
RHS (N.D. Cal.). Lieff Cabraser served as Plaintiffs’ Co-Lead Counsel
for a certified nationwide class of Sears auto center customers for
purposes of approval of a combined injunctive relief/refund settlement.

As part of the settlement, Sears distributed to class members merchandise

coupons valued at 325 million

Roberts v. Bansch & Lomb, Civ. No. 94-C-l l44-W (N.D. Ala.). Lieff
Cabraser was designated as one of several Class Counsel iri November
1994 in this nationwide consumer fraud class action involving deceptive
marketing of contact lenses ln 1996, the Court approved a settlement
valued at 368 million (334 million cash and 334 million iri eye care
products).

In re Miracle Enr Consumer Litr`gation, Civ. No. 94-1696 (4th Jud. Dist.
Minn.). Lieff Cabraser served as Co-Lead Class Counsel in a nationwide
class action certified in late 1994 involving claims arising from
misrepresentations regarding performance of a hearing aid device. State
courts iri Minnesota and Alabama granted final approval to the nationwide
settlement.

Non-Personal Iniury Defective Products

l.

Behr Wood Sealant Cases, JCCP Nos 4132 & 4138 (San Joaquin County
Superior Ct., Cal.). With co-counsel, Lieff Cabraser represents
homeowners and other consumers that purchased and applied the Behr
wood sealant products Super Liquid Raw-Hide or Natural Seal Plus to
exterior wood surfaces within the United States since January 1, 1991. Iri
May 2003, the Hon Carter P. Holly granted final approval to a 3107.5
million settlement to provide compensation for mildew damage to wood
surfaces that Class members incurred

Richison v. American Cemwood Corp., No. 005532 (San Joaquin
Superior Ct., Cal.). Lieff Cabraser served as Co-lead Class Counsel for an
estimated nationwide class of 30,000 owners of homes and other
structures on which defective Cemwood Shakes were installed ln

' November 2003, the Court granted final approval to a 375 million Phase 2

settlement iri the American Cemwood roofing shakes national class action
litigation This amount was iri addition to a 365 million partial settlement
approved by the Court in May 2000, and brought the litigation to a
conclusion The claims period runs through 2015.

Williams v. Weyerhaeuser, No. 995787 (San Francisco Superior Ct.).
Lieff Cabraser served as Class Counsel on behalf of a nationwide class of
hundreds of thousands or millions of owners of homes and other structures
with defective Weyerhaeuser hardboard siding. A Califomia-wide class
was certified for all purposes in February 1999, and withstood writ review

_19_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 25 0161

80577.1

by both the California Court of Appeal and Supreme Court of Califomia.
In 2000, the Court granted final approval to a nationwide settlement of the
case which provides class members with compensation for their damaged
siding, based on the cost of replacing or, in some instances repairing,
damaged siding. The settlement has no cap, and requires Weyerhaeuser to
pay all timely, qualified claims over a nine year period The claims
program is underway and paying claims

FoothilI/DeAnza Community College District v. Northwest Pr'pe
Company, No. C-00~20749 (N.D. Cal.). ln June 2004, the court approved
the creation of a settlement fund of up to 314.5 million for property
owners nationwide with Poz-Lok fire sprinkler piping that fails Since
1990, Poz-Lok pipes and pipe fittings were sold in the U.S. as part of fire
suppression systems for use in residential and commercial buildings
After leaks in Poz-Lok pipes caused damage to its DeAnza Campus
Center building, Foothill/DeAnza Community College District in
California retained Lieff Cabraser to file a class action lawsuit against the
manufacturers of Poz-Lok. The college district charged that Poz-Lok pipe
had manufacturing and design defects that resulted in the premature
corrosion and failure of the product. Under the settlement, owners whose
Poz-Lok pipes are leaking today, or over the next 15 years may file a
claim for compensation

Toshiba Laptop Screen Flicker Settlement. Lieff Cabraser negotiated a
settlement with Toshiba America lnforrnation Systems lnc. (“TAIS”) to
provide relief for owners of certain Toshiba Satellite 1800 Series Satellite
Pro 4600 and Tecra 8100 personal notebook computers whose screens
flickered, dimmed or went blank due to an issue with the FL lnverter
Board component Under the terms of the Settlement, owners of affected
computers who paid to have the FL lnverter issue repaired by either TAIS
or an authorized TAIS service provider may recover the cost of that
repair, up to 3300 for the Satellite 1800 Series and the Satellite Pro 4600
personal computers or 3400 for the Tecra 8100 personal computers The
claim program is open until May 6, 2005, when all claims must be
postmarked TAIS also agreed to extend the affected computers’
warranties for the FL lnverter issue by 18 months until May 4, 2006.

ABS Prpe Litigation, JCCP No. 3126 (Contra Costa County Superior Ct.,
Cal.). Lieff Cabraser served as Lead Class Counsel on behalf of property
owners whose ABS plumbing pipe was allegedly defective and caused
property damage by leaking. Six separate class actions were filed in
Califomia against five different ABS pipe manufacturers niunerous
developers of homes containing the ABS pipe, as well as the resin supplier
and the entity charged with ensuring the integrity of the product. Between
1998 and 2001, we achieved 12 separate settlements in the class actions
and related individual lawsuits for approximately 378 million

_20-

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 26 0161

80577.1

Commenting on the work of Lieff Cabraser and co-counsel in the case,
California Superior Court (now appellate) Judge Mark B. Simons stated
on May 14, 1998: “The attomeys who were involved iri the resolution of
the case certainly entered the case with impressive reputations and did
nothing in the course of their work on this case to diminish these
reputations but underlined, in my opinion how well deserved those
reputations are,”

McManus, et al. v. Fleetwaod Enterprises, Inc., NO. SA-99-CA-464-FB
(W.D. Tex.). Lieff Cabraser served as Class Counsel on behalf of original
owners of 1994-2000 model year Fleetwood Class A and Class C motor
homes In 2003, the Court approved a settlement that resolved lawsuits
pending in Texas and California about braking while towing with 1994
Fleetwood Class A and Class C motor homes The lawsuits alleged that
Fleetwood misrepresented the towing capabilities of new motor homes it
sold, and claimed that Fleetwood should have told buyers that a
supplemental braking system is needed to stop safely while towing heavy
items such as a vehicle or trailer. The settlement paid 3250 to people who
bought a supplemental braking system for Fleetwood motor homes that
they bought new.

Cox v. Shell, No. 18,844 (Obion County Chancery Ct., Tenn.). Lieff
Cabraser served as Class Counsel on behalf of a nationwide class of
approximately 6 million owners of property equipped with defective
polybutylene plumbing systems and yard service lines Iri November
1995, the Court approved a settlement involving an initial commitment by
Defendants of 3950 million in compensation for past and future expenses
incurred as a result of pipe leaks and to provide replacement pipes to
eligible claimants The settlement claims program will continue past
2010, under the continuing supervision of the trial court.

Naefv. Masonite, No. CV-94-4033 (Mobile County Circuit Ct., Ala.).
Lieff Cabraser Heimann & Bernstein served as Class Counsel on behalf of
a nationwide Class of an estimated 4 million homeowners with allegedly
defective hardboard siding manufactured and sold by Masonite
Corporation, a subsidiary of lntemational Paper, on their homes The
Class was certified in November 1995, and the Alabama Supreme Court
twice denied extraordinary writs seeking to decertify the Class including
in Ex Parte Masoni'te, 681 So. 2d 1068 (Ala. 1996). A month-long jury
trial in 1996 established the factual predicate that Masonite hardboard
siding was defective under the laws of most states The case settled on the
eve of a second Class-wide trial, and in January 1998, the Court approved
a Class Settlement Under the Settlement, Class members with failing
Masonite hardboard siding installed and incorporated in their property
between January l, 1980 and January 15, 1998 can make claims over a
multi-year claims program and have their homes evaluated by independent
inspectors Class members with qualifying damage to their siding recover

_21_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 27 0161

80577,1

10.

ll.

12.

13.

damages associated with the siding. To date, the Settlement has paid out
over 3584 million to homeowners across the country, and claims continue
to be made and paid

In re Louisiana-Pacific Inner-Seal Siding Litigation, No. C-95-879-JO
(D. Or.). Lieff Cabraser served as Co-Lead Class Counsel on behalf of a
nationwide class of homeowners with defective exterior siding on their
homes Plaintiffs asserted claims for breach of warranty, fraud,
negligence, and violation of consumer protection statutes On April 26,
1996, U.S. District Judge Robert E. J ones entered an Order, Final
Judgment and Decree granting final approval to a nationwide settlement
requiring Louisiana-Pacific to provide hinding up to 3475 million to pay
for inspection of homes and repair and replacement of failing siding over
the next seven years

In re Intel Pentium Processor Litigation, No. CV 745729 (Santa Clara
Superior Ct., Cal.). Lieff Cabraser served as one of two court appointed
Co-Lead Class Counsel, and negotiated a settlement, approved by the
Court in June 1995, involving both injunctive relief and damages having
an economic value of approximately 31 billion The chip replacement
program has been implemented and is ongoing

Gross v. Mobil, No. C 95-1237-Sl (N.D. Cal.). Lieff Cabraser served as
Plaintiffs’ Class Counsel in this nationwide action involving an estimated
2,500 aircraft engine owners whose engines were affected by Mobil AV-l ,
an aircraft engine oil. Plaintiffs alleged claims for strict liability,
negligence, misrepresentation violation of consumer protection statutes
and for injunctive relief. Plaintiffs obtained a preliminary injunction
requiring Defendant Mobil Corporation to provide notice to all potential
class members of the risks associated with past use of Defendants’ aircraft
engine oil. In addition, Plaintiffs negotiated a proposed Settlement,
granted final approval by the Court in November 1995, valued at over
312.5 million, under which all Class Members were eligible to participate
in an engine inspection and repair pro gram, and receive compensation for
past repairs and for the loss of use of their aircraft associated with damage
caused by Mobil AV-l.

In re General Motors Corp. Pick-Up Fnel Tank Products Liabr'lr'ty
Litigatc'on, MDL No. 961. Lieff Cabraser served as court-appointed Co-
Lead Counsel representing a class of 4.7 million plaintiffs who owned
1973-1987 GM C/K pickup trucks with allegedly defective gas tanks The
Consolidated Complaint asserted claims under the Lanham Act, the
Magnuson-Moss Act, state consumer protection statutes and common
law. ln 1995, the Third Circuit vacated the District Court settlement
approval order and remanded the matter to the District Court for further
proceedings In July 1996, a new nationwide class action was certified for
purposes of an enhanced settlement program valued at a minimum of

_22_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 28 0161

80577. l

14.

3600 million, plus funding for independent fuel system safety research
projects Final approval was granted in November 1996.

Hanlo`n v. Chrysler Corp., No. C-95-2010-CAL (N.D. Cal.). In 1995, the
district court approved a 3200+ million settlement enforcing Chrysler’s
comprehensive minivan rear latch replacement program, and to correct
alleged safety problems with Chrysler’s pre-1995 designs As part of the
settlement, Chrysler agreed to replace the rear latches with redesigned
latches. The settlement was affirmed on appeal by the Ninth Circuit iri
Hanlon v. Chlysler Corp., 150 F.3d 1011 (1998).

F. Antitrust/Trade Regulation/Intellectual Propertv

l.

Natural Gas Antr'trust Cases, J.C.C.P Nos. 4221, 4224, 4226 & 4228
(Cal. Supr. Ct.). ln a landmark victory for California consumers and
businesses the Court approved a 31.5 billion settlement in December 2003
of class action litigation against El Paso Natural Gas Co. Lieff Cabraser
served as Plaintiffs’ Co-Lead Counsel for residential and business
consumers of natural gas. Plaintiffs charged that during the California
energy crisis in 2000-2001, El Paso manipulated the market for natural gas
pipeline transmission capacity into California to enable its energy trading
subsidiary to acquire the capacity, and then used the capacity to drive up
natural gas prices on the spot market

Microsoft Prr'vate Antr`trust Litigation. Lieff Cabraser is prosecuting
cases on behalf of businesses and consumers against Microsoft
Corporation in various state courts across the country, including Florida,
New York, North Carolina, and Tennessee. Plaintiffs allege that
Microsoft engaged in anticompetitive conduct and/or violated state
deceptive and unfair business practices statutes to harm competition and
monopolize the markets for lntel-compatible, personal computer operating
system software, as well as word processing and spreadsheet software. ln
November 2003, in the Florida Microsoft litigation, the Court granted final
approval to a 3202 million settlement, one of the largest antitrust
settlements in Florida history. In June 2004, the Court in the Tennessee
action granted final approval to a 364 million settlement. ln August 2004,
the Court in the North Carolina action granted final approval to a
settlement valued at over 389 million

Azizian v. Federated Department Stores, 3:03 CV 0335 9 SBA (N.D.
Cal.). Lieff Cabraser and its co-counsel are prosecuting a national class
action on behalf of consumers of department store cosmetics The suit
alleges that various manufacturers and retailers of department store
cosmetics engaged in anticompetitive practices to prevent discounting
The Court has preliminarily approved a settlement valued at 3175 million

_23_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 29 0161

80577.1

In re anpirone Ann`trust Lr`tigatc'on, MDL No. 1413. ln November
2003, Lieff Cabraser obtained a 390 million cash settlement for individual
consumers consumer organizations and third party payors that purchased
BuSpar, a drug prescribed to alleviate symptoms of anxiety. Plaintiffs
alleged that Bristol-Myers Squibb Co. (BMS), Danbury Pharmacal, Inc.,
Watson Pharmaceuticals lnc. and Watson Pharma, Inc. entered into an
unlawful agreement iri restraint of trade under which BMS paid a potential
generic manufacturer of BuSpar to drop its challenge to BMS’ patent and
refrain from entering the market. Lieff Cabraser served as Plaintiffs’ Co-
Lead Counsel.

Ciprofloxacr'n Federal and State Ann'trnst Litigatian, MDL No. 1383
(E.D.N.Y.), Lieff Cabraser serves as Co-Lead Counsel for consumers who
purchased Cipro, the top selling antibiotic in the world Plaintiffs allege
that Bayer Corporation, Barr Laboratories, two other generic drug
companies and other defendants entered into an unlawful agreement to
keep a generic version of the drug off the market that allowed Bayer to sell
Cipro at inflated prices Lieff Cabraser also represents purchasers of
Cipro in a class action lawsuit filed in Califomia state court. ln July 2004,
the California Court of Appeal upheld the trial court's grant of class
certification of an antitrust and unfair competition action against
defendants

In Re Lupron Marketr`ng and Sales Practices Litigation, MDL No. 1430.
Lieff Cabraser serves as Co-Lead Counsel for patients prescribed Lupron,
a prescription drug used to treat prostate cancer. Plaintiffs charge that the
manufacturers of Lupron, Abbott Laboratories, Takeda Chemical
Industries and TAP Pharrnaceuticals, conspired to overstate the drug’s
average wholesale price (“AWP”). The AWP is the rate upon which
Medicare bases the reimbursement and co-payrnent. As a result, the
Medicare program and Medicare patients paid artificially inflated prices
for Lupron Plaintiffs also allege that Defendants provided physicians
with free samples of Lupron, while instructing physicians to bill the
Medicare program and patients for the fee samples ln November 2003,
the court denied the majority of defendants’ arguments raised in support of
their motion to dismiss the lawsuit. Lieff Cabraser also serves as counsel
in an action against TAP and other companies in Illinois State Court. ln
October 2003, the Illinois Appellate Court upheld an order certifying a
nationwide class of consumers against TAP based on claims for unjust
enrichment and violation of the Illinois Consumer Fraud Act. The private
litigation seeks to obtain a recovery for Medicare and non-Medicare
patients that paid inflated, out of pocket costs for Lupron

California Vitamin Cases, JCCP No. 4076 (San Francisco Superior Ct.).
Lieff Cabraser served as Co-Liaison Counsel and Co-Chairman of the
Plaintiffs’ Executive Committee on behalf of a class of Califomia indirect
vitamin purchasers in every level of the chain of distribution ln January

_24-

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 30 0161

80577.1

10.

ll.

12.

2002, the Court granted final approval of a 396 million settlement with
certain vitamin manufacturers in a class action alleging that these and
other manufacturers engaged in price fixing of particular vitamins

Pharmaceutical Cases I, II, and III, JCCP Nos. 2969, 2971 , and 2972
(San Francisco County Ct.). Lieff Cabraser served as Co-Lead and Co-
Liaison Counsel representing a certified class of indirect purchasers
(consumers) on claims against the major pharmaceutical manufacturers for

_ violations of the Cartwright Act and the Unfair Competition Act. The

class alleged that defendants unlawfully fixed discriminatory prices on
prescription drugs to retail pharmacists in comparison with the prices
charged to certain favored purchasers including HMOs and mail order
houses In April 1999, the Court approved a settlement providing

3148 million in free, brand-name prescription drugs to health agencies that
serve Califomia’s poor and uninsured ln October 2001, the Court
approved a settlement with the remaining defendants in the case, which
provided an additional 323 million in free, brand-name prescription drugs
to these agencies

In re Nifedipine Antitrust Litr'gatr'on, MDL No. 1515 (D.D.C.). Lieff
Cabraser serves as Co-Lead Counsel for class of consumers who
purchased the drug Adalat, also known as Nifedipine. Plaintiffs allege
that two generic manufacturers of Adalat entered into an agreement to
allocate the dosages markets for generic Adalat, thereby substantially
reducing competition and unlawfully inflating prices on both generic and
brand-name Adalat, in violation of the Sherman Act.

In re Electrr‘cal Carbon Products Antr`trust Litr'gation, MDL No. 1514
(D.N.J.). Lieff Cabraser represents the City and County of San Francisco
and a class of direct purchasers of carbon brushes and carbon collectors on
claims that producers fixed the price of carbon brushes and carbon
collectors in violation of the Sherman Act.

Electrical Carbon Products Cases, J.C.C.P. No. 4294 (San Francisco
Superior Court). Lieff Cabraser represents the City and County of San
Francisco and a class of indirect purchasers of carbon brushes and carbon
collectors on claims that producers fixed the price of carbon brushes and
carbon collectors iri violation of the Cartwright Act and the Unfair
Competition Law. Lieff Cabraser also represents the People of the State
of California in claims arising from the Unfair Competition Law.

In re Compact Disc Antr‘trust Litr`gation, MDL No. 1216 (C.D. Cal.).
Lieff Cabraser serves as Co-Lead Counsel for the direct purchasers of
compact discs on claims that the producers fixed the price of CDs in
violation of the federal antitrust laws

_25_

Case 1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 31 of 61

80577.1

13.

14.

15.

16.

17.

18.

In re CarpetAntitrust Litigation, MDL No. 1075 (N.D. Ga.). Lieff
Cabraser served as Class Counsel and a member of the trial team for a
class of direct purchasers of twenty-ounce level loop polypropylene
carpet. Plaintiffs, distributors of polypropylene carpet, alleged that
Defendants, seven manufacturers of polypropylene carpet, conspired to fix
the prices of polypropylene carpet by agreeing to eliminate discounts and
charge inflated prices on the carpet. In 2001, the Court approved a 550
million settlement of the case.

In re Lasik/PRKAntitrust Litigation, No. CV 772894 (Santa Clara
Superior Ct., Cal.). Lieff Cabraser served as a member of Plaintiffs’

` Executive Committee in class actions brought on behalf of persons who

underwent Lasik/PRK eye surgery. Plaintiffs alleged that defendants, the
manufacturers of the laser system used for the laser vision correction
surgery, manipulated fees charged to ophthalmologists and others who
performed the surgery, and that the overcharges were passed onto
consumers who paid for laser vision correction surgery. In December
2001, the Court approved a $12.5 million settlement of the litigation.

In re Toys ‘R’ Us Antitrust Litigation, MDL No. 1211 (E.D.N.Y.). Lieff
Cabraser served as Co-Lead Counsel representing a class of direct
purchasers (consumers) who alleged that Toys ‘R’ Us conspired with the
major toy manufacturers to boycott certain discount retailers in order to
restrict competition and inflate toy prices In February 2000, the Court
approved a settlement of cash and product of over 856 million.

In re Travel Agen cy Commission Amc'trust Litigation, MDL No. 1058
(D. Minn.). Lieff Cabraser served as Co-Lead Counsel for a certified class
of U.S. travel agents on claims against the major U.S. air carriers, who
allegedly violated the federal antitrust laws by fixing the commissions
paid to travel agents. In 1997, the Court approved an 882 million
settlement.

Sanitary Paper Cases I & II, JCCP Nos. 4019 and 4027 (San Francisco
Superior Ct.). Lieff Cabraser served as Liaison Counsel on behalf of
indirect purchasers of commercial paper products Plaintiffs alleged that
from 1993 to 2000 Defendants fixed the price of commercial tissue, toilet
paper, toilet seat covers, and other commercial paper products in violation
of the Cartwright Act and Unfair Competition Act. ln February 2001 , the
Court approved a $3 million settlement of the case.

Schwartz v. National Football League, No. 97-CV-5184 (E.D. Pa.). Lieff
Cabraser served as counsel for individuals who purchased the “NFL
Sunday Ticket” package of private satellite transmissions in litigation
against the National Football League for allegedly violating the Sherman
Act by limiting the distribution of television broadcasts of NFL games by
satellite transmission to one packagel ln August 2001 , the Court approved

_26_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 32 of 61

80577.1

19.

20.

21.

22.

23.

24.

of a class action settlement that included: (l) the requirement that
defendants provide an additional weekly satellite television package
known as Single Sunday Ticket for the 2001 NFL football season, under
certain circumstances for one more season, and at the defendants’
discretion thereafter; (2) a $7.5 million settlement fund to be distributed to
class members; (3) merchandise coupons entitling class members to
discounts at the NFL’s Intemet store which the parties value at
approximately $3 million; and (4) $2.3 million to pay for administering
the settlement fund and notifying class members

In re Commercial Explosives Antc'tmst Litr'gation, MDL No. 1093

(D. Utah). Lieff Cabraser served as Class Counsel on behalf of direct
purchasers of explosives used in mining operations ln 1998, the Court
approved a $'77 million settlement of the litigation.

111 re California Indirect-Purch user X-Ray Antitrust Litigation,

No. 960886 (San Francisco Superior Ct.). Lieff Cabraser served as Class
Counsel on behalf of indirect purchasers (consumers) of medical x-ray
film who alleged violations of the Cartwright and Unfair Competition
Acts. ln 1998, the Court approved a 33.75 million settlement of the
litigation,

In re Brand Name Prescription Drugs, MDL No. 997 (N.D. Ill.). Lieff
Cabraser served as Class Counsel for a`class of tens of thousands of retail
pharmacies against the leading pharmaceutical manufacturers and
wholesalers of brand name prescription drugs for alleged price-fixing from
1989 to 1995 in violation of the federal antitrust laws Class Plaintiffs
charged that defendants engaged in price discrimination against retail
pharmacies by denying them discounts provided to hospitals, health
maintenance organizations and nursing homes ln 1996 and 1998, the
Court approved settlements with certain manufacturers totaling $723
million.

In re K-Dur Prescription Drug Antitrust Litigation, MDL No. 1419.
Lieff Cabraser serves as Class Counsel on behalf of indirect purchasers of
K-Dur, a potassium supplement often prescribed in conjunction with high
blood pressure medication K-Dur is the fourth most frequently prescribed
drug to seniors. The complaint alleges the defendants illegally agreed not
to compete in the sale of K-Dur which prevented any generic version of
K-Dur from coming onto the market

fn re Flat Glass Antitrust Litigation, MDL 1200 (W.D. Pa.). Lieff
Cabraser serves as Class Counsel on behalf of a class of direct purchasers
of flat glass

In re Linerboard Antitrust Litigation, MDL 1261 (E.D. Pa.). Lieff
Cabraser serves as Class Counsel on behalf of a class of direct purchasers

_27_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 33 of 61

25.

26.

27.

28.

29.

30.

31.

80577.1

of linerboard. The court recently approved a settlement totaling $202
million.

In re High Pressure Laminntes Antr`trust Litigation, MDL No. 1368
(S.D.N.Y.). Lieff Cabraser serves as Trial Counsel on behalf of a class of
direct purchasers of high pressure laminates.

Bromine Cases, J.C.C.P. No. 4108. Lieff Cabraser serves a Lead Counsel
on behalf of indirect purchasers of bromine, a chemical used as a fire-
retardant. Lieff Cabraser was chosen by the court as the most qualified
candidate of all firms that submitted sealed bids

Thomas & Thomas Rodmakers, Inc. v. Newport Adhesives and
Composites, Inc., No. CV-99-07796 (C.D. Cal.). In August, 1999, Lieff
Cabraser and its co-counsel filed a class action lawsuit on behalf of direct
purchasers of carbon fiber. The suit alleges that the major United States
manufacturers and distributors of carbon fiber conspired to raise, fix, and
maintain artificially high prices of carbon fiber in violation of the federal
Sherman Antitrust Act.

Methc'onine Cases I and II, JCCP Nos. 4090 and 4096 (Stanislaus County
Superior Ct., Cal.). Lieff Cabraser serves as Co-Lead Counsel on behalf
of indirect purchasers of methionine, an amino acid used primarily as a
poultry and swine feed additive to enhance growth and production
Plaintiffs allege that the companies illegally conspired to raise methionine
prices to super-competitive levels The case has settled.

Wholesale Electricity Antitrust Cases I & II, J.C.C.P. Nos. 4204 & 4205
(San Diego Superior Ct). Lieff Cabraser and its Co-Counsel were retained
by businesses to prosecute claims on behalf of indirect purchasers of
wholesale electricity sold in Califomia. The complaint alleges that the
wholesale providers of electricity conspired to sell electricity at
artificially-inflated prices Lieff Cabraser recently was successful in
obtaining an order remanding the case to the Superior Court, but that order
is pending appeal. Lieff Cabraser on behalf of the class settled for over
$100 million the claims with The Williams Companies.

Sample v. Monsanto, No. 4:01CV65RSW (E.D. Mo.). Lieff Cabraser
serves as Co-Lead Counsel in a class action lawsuit against Monsanto
Company and others alleging that a conspiracy to fix prices on genetically
modified Roundup Ready soybean seeds and Yieldgard corn seeds The
District Court’s ruling on class certification is presently on appeal to the
Eighth Circuit Court of Appeals

Tortola Restaurants, L.P. v. Minnesota Mining and Manufacturing,

No. 314281 (San Francisco Superior Ct). Lieff Cabraser serves as Co-
Lead Counsel on behalf of indirect purchasers of Scotch-brand invisible

_28_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 34 of 61

32.

and transparent tape. Plaintiffs allege that defendant 3M conspired with
certain retailers to monopolize the sale of Scotch-brand tape in Califomia.

Brennan, et al. v. Concord EFS, et al., No. 3:04-cv-02676-VRW (N.D.
Cal.). Lieff Cabraser represents a putative class of ATM users against a
number of banks comprising the Star ATM Network, alleging that those
banks conspired to fix the price of ATM interchange fees thereby
unlawfully inflating fees paid by ATM users in the network_

G. Environmental and Toxic Exposures

l.

80577.1

In re Unocal Refinetj) Litigation, No. C 94-04141 (Contra Costa Superior
Ct., Cal.). Lieff Cabraser served as one of two Co-Lead Class Counsel
and orr the Plaintiffs’ Steering Committee in this action against Union Oil
Company of California (“Unocal”) arising from a series of toxic releases
from Unocal’s San Francisco refinery in Rodeo, Califomia. The action
was settled in 1997 on behalf of approximately 10,000 individuals for

$80 million.

Kentucky Coal Slndge Litigation. On October ll, 2000, near Inez,
Kentucky, a coal waste storage facility ruptured, spilling 300 million
gallons of coal sludge (a wet mixture produced by the treatment and
cleaning of coal) into waterways in the region and contaminatng hundreds
of properties This was one of the worst environmental disasters in the
Southeastem United States With co-counsel, Lieff Cabraser represented
over 400 clients in property damage claims, including claims for
diminution in the value of their homes and properties ln April 2003, the
parties reached a confidential settlement agreement on favorable terms to
the plaintiffs

Toms River Childhood Cancer Incidents. With co-counsel, Lieff
Cabraser represented 69 families in Toms River, New Jersey, each with a
child having cancer`, that claimed the cancers were caused by
environmental contamination in the Toms River area. Commencing in
1998, the parties a the 69 families Ciba Specialty Chemicals, Union
Carbide and United Water Resources, lnc., a water distributor in the area -
participated in an unique alternative dispute resolution process, which lead
to a fair and efficient consideration of the factual and scientific issues in
the matter. In December 2001 , under the supervision of a mediator, a
confidential settlement favorable to the families was reached.

In re Exxon Valdez Ol`l Spill Lc'tignn`on (District of Alaska/Alaska Sup.
Ct.). The Exxon Valdez ran aground in March of 1989, spilling ll million
gallons of oil into Prince William Sound. Lieff Cabraser served as one of
the court-appointed Plaintiffs’ Class Counsel. The class consisted of
32,000 fisherman, Alaska natives, landowners and others whose
livelihoods were graver affected by the disaster. In addition, Lieff served

_29_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 35 of 61

80577.1

on the Class Trial T earn in 1994. A class action jury trial was held in
federal court in 1994. That jury awarded $5 billion in punitive damages to
the plaintiff class The punitive damages award has been on repeated
appeal by the Exxon Corporation ever since. In 2001 , the Ninth Circuit
Court of Appeals ruled that the original $5 billion punitive damages
verdict was excessive In 2002, U.S. District Court Judge H. Russell
Holland reinstated the award at $4 billion. Judge Holland stated that,
"Exxon officials knew that carrying huge volumes of crude oil through
Prince William sound was a dangerous business yet they knowingly
permitted a relapsed alcoholic to direct the operation of the Exxon Valdez
through Prince William Sound." In 2003, the Ninth Circuit again directed
Judge Holland to reconsider the punitive damages award under United
States Supreme Court punitive damages guidelines In January 2004,
Judge Holland issued his order finding that recent Supreme Court
decisions did not change the court's earlier analysis The court specifically
found that a punitive damages award of $4.5 billion plus $2.25 billion in
interest was in accordance with Supreme Court authority. Exxon has
again filed an appeal of the punitive damages award. To date, the
plaintiffs and victims of the Exxon Valdez disaster have waited over 15
years for the resolution of their case.

West v. G&H Seed Co., Avenn‘s CropSciences USA, LLP, et al., No. 99-
C-4984-A (La. State Ct). With co-counsel, Lieff Cabraser represented a
class of 1 ,500 Louisiana crawfish farmers The farmers sued Bayer
CropScience LP claiming the pesticide ICON killed their crawfish and
caused economic ruin. ln 2004, the Court granted approved a $45 million
settlement. The settlement was reached after the parties had presented
nearly a month’s worth of evidence at trial, and were on the verge of
making closing arguments to the jury.

Craft v. Vnnderbilt University, Civ, No. 3-94-0090 (M.D. Tenn.). Lieff
Cabraser served as Lead Counsel of a certified class of over 800 pregnant
women and their children who were intentionally fed radioactive iron
without their consent while receiving prenatal care at defendant
Vanderbilt’s hospital in the 1940’s. The facts surrounding the
administration of radioactive iron to the pregnant women and their
children in utero came to light as a result of Energy Secretary Hazel
O’Leary’s 1993 disclosures of government sponsored human radiation
experimentation during the Cold War. Defendants’ attempts to dismiss
the claims and decertify the class were unsuccessful The case was settled
in July 1998 for a total of SlO.B million and a formal apology from
Vanderbilt.

In re GCC Richmond Works Cases, JCCP No. 2906. Lieff Cabraser
served as Co-Liaison Counsel and Lead Class Counsel in coordinated
litigation arising out of the release of a massive toxic sulfuric acid cloud
which injured an estimated 50,000 residents of Richmond, California on

_30_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 36 of 61

80577.1

July 26, 1993. The Coordination Trial Court granted final approval to a
$180 million class settlement for exposed residents

In re Sacramento River Spr`ll Cases I and II, JCCP Nos. 2617 and 2620
(San Francisco County Superior Ct.). Lieff Cabraser served as Court-
appointed Plaintiffs’ Liaison Counsel, Lead Class Counsel, and chaired
the Plaintiffs’ Litigation Committee in an action arising out of a July 14,
1991 Southem Pacific train derailment and toxic spill near Dunsmuir,
Califomia. Settlement proceeds of approximately $16 million were
distributed pursuant to Court approval of a plan of allocation to four
certified plaintiff classes: personal injury, business loss property
damage/diminution, and evacuation.

H. Aviation LaW

1.

Air Algerie Boeing 73 7Accident. Working with French co-counscl, Lieff
Cabraser is assisting in the representation of families of passengers who
died on March 6, 2003 in a crash of a Boeing 737 airplane operated by Air
Algerie. The aircraft departed the southern Algerian city of Tamanrasset
and crashed soon after takeoff, with one of the engines reportedly on fire.

Aeroflot-Russian Internan'onal Airlines Airbus Disaster. Lieff Cabraser
represented the families of passengers who were on Aeroflot-Russian
International Airlines Flight SU593 that crashed in Siberia on March 23,
1994. The plane was in route from Moscow to Hong Kong. All passengers
orr board died. According to a transcript of the cockpit voice record, the
pilot’s two children entered the cockpit during the flight and took turns
flying the plane. The autopilot apparently was inadvertently turned off
during this time, and the pilot was unable to remove his son from the
captain’s seat in time to avert the plane’s fatal dive. Lieff Cabraser,
alongside French co-counsel, filed suit in France, where Airbus, the
plane’s manufacturer, was headquartered All the families Lieff Cabraser
represented obtained substantial economic recoveries in settlement of the
action.

United Airlines Boeing 74 7 Disaster, MDL No. 807 U\I.D. Cal.). Lieff
Cabraser served as Plaintiffs’ Liaison Counsel on behalf of the passengers
and families of passengers injured and killed in the United Airlines Boeing
747 cargo door catastrophe near Honolulu, Hawaii on February 24, 1989.
Lieff Cabraser organized the litigation of the case, which included claims
brought against United Airlines and Boeing Corporation. Among our
work, we developed a statistical system for settling the passengers’ and
families’ damages claims with certain defendants and coordinated the
prosecution of successful individual damages trial for wrongful death
against the non-settling defendants

_31_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 37 of 61

80577.1

German Air Force Lockheed F-104 Star Fighter Litigation: ln the late
1960s and extending into the early 1970s the United States sold F-104
Star Fighter jets to the Gerrnan Air Force that were manufactured by
Lockheed Aircraft Corporation in Califomia. The F-104 Star Fighter was
designed for high-altitude fighter combat, but used in Gennany and other
European countries for low-level bombing and attack missions
Consequently, the aircraft had an extremely high crash rate, with over 300
pilots killed, Commencing in 1971, the law finn of Belli Ashe Ellison
Choulos & Lieff filed hundreds of lawsuits for wrongful death and other
claims on behalf of the widows and surviving children of the pilots
Robert Lieff continued to prosecute the cases after the formation of our
firm. ln 1974, the lawsuits were settled with Lockheed on terms favorable
to the plaintiffs This litigation helped establish the principle that citizens
of foreign countries could assert claims in United States courts and obtain
substantial recoveries against an American manufacturer based upon
airplane accidents or crashes occurring outside of the United States

I. International and Human Rights Litigation

1.

Holocaust Cases. Lieff Cabraser is one of the leading firms that
prosecuted claims by Holocaust survivors and the heirs of Holocaust
survivors and victims against banks and private manufacturers and other
corporations who enslaved and/or looted the assets of Jews and other
minority groups persecuted by the Nazi Regime during the Second World
War era. We serve as Settlement Class Counsel in the case against the
Swiss banks that the Court approved a U.S. 51.25 billion settlement in
July 2000. Lieff Cabraser donated its attomeys’ fees in the Swiss Banks
case, in the amount of $1 .5 million, to endow a Hurnan Rights clinical
chair at Columbia University Law Sohool. We were also active in slave
labor and property litigation against Gerrnan and Austrian defendants and
Nazi-era banking litigation against French banks ln connection therewith,
Lieff Cabraser participated in multi-national negotiations that led to
Executive Agreements establishing an additional approximately U.S. $5
billion in funds for survivors and victims of Nazi persecutionl Our
website provides links to the websites of settlement and claims
administrators in these cases

Commenting on the work of Lieff Cabraser and co-counsel in the
litigation against private German corporations entitled In re Holocaust
Era German Industry, Bank & lnsurance Litr`gatz`on (MDL No. 1337),
U.S. District Court Judge William G. Bassler stated orr November 13,
2002:

Up until this litigation, as far as l can tell, perhaps
with some minor exceptions the claims of slave and
forced labor fell on deaf ears You can say what you
to say about class actions and about attorneys but

-32_`

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 38 of 61

80577.1

the fact of the matter is, there was no attention to
this very, very large group of people by Gerrnany,
or by Gennan industry until these cases were filed.

. . . What has been accomplished here with the
efforts of the plaintiffs’ attorneys and defense
counsel is quite incredible. . . 1 want to thank
counsel for the assistance in bringing us to where
we are today. Cases don’t get settled just by
litigants lt can only be settled by competent, patient
attomeys.

Cruz v. U.S., Estados Unidos Mexicanos, Wells Fargo Bank, et al., No.
01"0892-CRB (N.D. Cal.). ln April 2001, Lieff Cabraser filed a class
action on behalf of contract workers (known as “Braceros”) who came
from Mexico to the United States pursuant to bilateral agreements from
1942 through 1949 to aid Arnerican farms and industries hurt by employee
shortages The agreements provided that ten percent of the Braceros’
wages would be withheld from them and transferred via United States and
Mexican banks to savings accounts for each Bracero. Plaintiffs claim they
were never reimbursed for the portion of their wages placed in the forced
savings accounts On August 28, 2002, U.S. District Court Judge Charles
Breyer dismissed the claims against the Mexican government and bank
defendants while granting plaintiffs leave to file an amended complaint
against the U.S. govemment. Judge Breyer nevertheless wrote: “ l do not
doubt that many Braceros never received savings fund withholdings to
which they were entitled.” Plaintiffs have filed motions to amend the
complaint and for reconsideration in light of intervening Ninth Circuit
authority. These motions will are set for hearing on June 27, 2003.

Jae Wong Jeong v. Onoda Cement Co., Ltd., No. BC217805 (Los
Angeles Superior Ct.). Lieff Cabraser, along with co-counsel, is
prosecuting the claims of Jae Won Jeong, one of thousands of Korean
civilians allegedly forced by Japanese companies to perform forced/slave
labor during World War ll. On January 15, 2003, the California Court of
Appeal upheld the right of Californians to sue corporations that subjected
them to forced or slave labor during World War ll in California state
court. The court rejected the position of the U.S. State Department that the
case should be dismissed because it interfered with the President's
exclusive power over foreign affairs Subsequently, the California
Supreme Court granted review, and asked the parties to brief the issues
No hearing date has been scheduled yet.

_33_

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 39 of 61

FIRM BIOGRAPHY:
PAR'I`NE RS

ROBERTL. LIEFF, born Bridgeport, Connecticut, September 29, 1936. Admitted to
practice in California, 1966', U.S. District Court, Northem District of California and U.S. Court
of Appeals Ninth Circuit, 1969; U.S. Supreme Court, 1969; U.S. Court of Appeals Seventh
Circuit, 1972; U.S. Tax Court, 1974; U.S. District Court, District of Hawaii, 1986. Ea'ucan'on:
Columbia University (M.B.A., 1962; J.D., 1962); Cornell University; University of Bridgeport
(B.A., 1958). Member, Columbia Law School Dean‘s Council; Member, Columbia Law School
Board of Visitors (1992-present); Member, Columbia Law School Center on Corporate
Govemance Advisory Board (2004). Member: Bar Association of San Francisco; State Bar of
California (Member: Committee on Rules of Court, 1971-74; Special Committee on Multiple
Litigation and Class Actions, 1972~73); American Bar Association (Section orr Corporation,
Banking and Business Law); Lawyers Club of San Francisco; San Francisco Trial Lawyers
Association; California Trial Lawyers Association; Consumer Attomeys of Califomia;
Association of Trial Lawyers of America;

ELIZABETH J. CABRASER, born Oakland, California, June 23, 1952. Admitted to
practice in California, 1978; California and U.S. Supreme Court; U.S. District Court, Northem,
Eastern, Central and Southem Districts of California; U.S. Court of Appeals Second, Third,
Fifth, Sixth, Seventh, Ninth, Tenth and Eleventh Circuits and U.S. Tax Court; U.S. District
Court, District of Hawaii; U.S. District Court, District of Arizona. Educan`on: Boalt Hall School
of Law, University of California (J.D., 1978)', University of California at Berkeley (A.B., 1975).
Awara’s and Honors: “Top 100 Lawyers,” California Daz`ly Journal, 1998-2004; Northem
California SuperLawyers, 2004; University of California, Berkeley School of Law Citation
Award, 2003; “Top 30 Women Litigators,” Calyfornc'a Dar`ly Journal, 2002; Distinguished
Jurisprudence Award, Anti-Defamation League, 2002; “Top Ten Women Litigators,” Nan`onal
Law Journal, 2001; “One Hundred Most Influential Lawyers in America,” Nan'onal Law
Journal, 2000 and 1997; Matthew O. Tobriner Public Servz`ce Award, Legal Aid Society, 2000;
Presidential Awarn’ of Merr'r, Consumer Attorneys of California, 1998; “Fifty Most lnfluential
Women Lawyers,” Natz`onal Law Journal, 1998; “Lawyers of the Year,” California Lawyer,
1998', Public Jnstice Achz`evement Award, Trial Lawyers for Public Justice, 1997.

Publicatr'ons: Editor in Chief, California Class Actions Practice and Procedures (2003); Co-
Author, “Decisions lnterpreting California’s Rules of Class Action Procedure,” Survey ofSta£e
Class Actr'on Law, updated and re-published in 5 Newberg on Class Actz'ons (ABA 2001 -2004);
Co-Author, “Mass But Not (Necessarily) Class: Emerging Aggregation Altematives Under the
Federal Rules,” ABA 8th Annual National Institute orr Class Actions, New York (Oct. 15, 2004),
New Orleans (Oct. 29, 2004); Co-Author, “2004 ABA Toxicology Monograph-Califomia State
Law,” (January 2004); “Human Rights Violations as Mass Torts: Compensation as a Proxy for
Justice in the United States Civil Litigation System”; Coordinating Editor and Co-Author of
California section of the ABA State Class Action Survey (2001-02)', “Unfinished Business:
Reaching the Due Process Limits of Punitive Damages in Tobacco Litigation Through Unitary
Classwide Adjudication,” 36 Wake Forest Law Review 979 (Winter 2001); “Syrnposium:
Enforcing the Social Contract through Representative Litigation,” 33 Connecn'cur Law Review

80577.1 ' _ 34 -

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 40 of 61

1239 (Summer 2001); “Equity for the Victims, Equity for the Transgressor: The Classwide
Treatment of Punitive Damages Claims,” 74 Tulane Law Review 2005 (June 2000); “Class
Action Trends and Developments Aftcr Amchem and Ortr'z,” in Civil Practice and Litigation
Techniques in Federaf and State Courrs (ALl-ABA Course of Study 1999); Contributor/Editor,
Moore 's Federal Practice (1999); “Life After Amchem: The Class Struggle Continues,”

31 Loyola Law Review 373 (1998); “Recent Developments in Nationwide Products Liability
Litigation: The Phenomenon of Non-Injury Products Cases the Impact of Amchem and the
Trend Toward State Court Adjudication,” Products Lfabz`lz`ty (ABA February 1998);
Contributor/Editor, California Canses ofAcn`on (1998); “Beyond Bifurcation: Multi-Phase
Structure in Mass Tort Class Actions,” Class Acn`ons & Derivative Suirs (Spring 1997); “The
Road Not Taken: Thoughts on the Fifth Circuit’s Decertification of the Castano Class,” SB24
ALI-ABA 433 (1996); “Getting the Word Out: Pre-Certification Notice to Class Members
Under Ruie 23(d)(2),” Class Acn'ons & Derivative Suz'ts Newslerrer (October 1995); “l\/Iass Tort
Class Action Settlements,” 24 CTLA Forum ll (Jan./Feb. 1994); “Do You Know the Way from
San J'ose? The Evolution of Environmental and Toxic Nuisance Class Actions” Class Acn`ons &
Derivative Suits (Spring 1994); “An Oracle of Change? Realizing the Potential of Emerging Fee
Award Methodologies for Enhancing The Role and Control of investors in Derivative and Class
Action Suits,” Principles of Corporare Govemance (ALI October 1994); “How To Strearnlinc
Complex Litigation: Tailor a Case Management Order to Your Controversy,” 21 The Brz`ef 12
(ABA!TIPS Summer 1992); “The Applicability of the Fraud-On-The-Market Theory to
‘Undeveloped’ Markets: When Fraud Creatcs the Market, 12 Class Action Reports 402 (1989);
“The Applicability of the Fraud-On~The-Market Theory to ‘Undeveloped’ Markets: When
Fraud Creates the Market,” 12 Class Actr`on Reports 402 (1989); “Mandatory Certification of
Settlement Classes,” 10 Class Acn`on Reports 151 (1987); Co-author with Fabrice N. Vincent,
“Ethics and Adrnissibility: Failure to Disclose Conflicts of lnterest in and/or Funding of
Scientific Studies and/or Data May Warrant Evidentiary Exclusions,” Mealey’s December
Emerging Drugs Reporter (December 2002); Co-author with Fabrice N. Vincent, “The
Shareholder Strikes Back: Varied Approaches to Civil Litigation Claims Are Available to Help
Make Shareholders Whole,” Mealey ’s Emerging Securities Lz'rigation Reporter (September
2002). Member: American Law lnstitute, Council; American Bar Association (Past Co~Chair,
Committee on Mass Torts; Committee on Class Actions and Derivative Suits; Tort and lnsurance
Practice Section (TlPS); Past Vice-Chair, Rules & Procedures Committee, Contributor, Civil
Procedure & Evidence News Letter; Business Law Section, Corporate & Litigation Group);
Federal Bar Association, Northem District of California Chapter; Bar Association of San
Francisco (Past President, Securities Litigation Section; Board of Directors, 1997-1998; Past
Member, Judiciary Committee); Advisor, American Law Institute lnternational Jurisdiction and
Judgrnents and Aggregate Litigation Projects; California Constitution Revision Commission,
1993-1996; National Center for State Courts Mass Tort Conference Planning Committee;
Northem District of California Civil Justice Reforrn Act (C]RA) Advisory Committee, and
Advisory Committee on Professional Conduct; Lawyer-Delegate, Ninth Circuit Judicial
Conference, 1992-1995; Bar Association of San Francisco (Past President, Securities Litigation
Section; Board of Directors); American Bar Association (Litigation Section and Committee on
Class Actions and Derivative Suits; Co~Chair, Committee on Mass Torts); Consumer Attorneys
of California (CAOC); Trial Lawyers for Public Justice (TLPJ); Bar Association of the Fifth

F ederal Circuit; Association of Trial Lawyers of America (ATLA) (California State Liaison,
Women Trial Lawyers Caucus); California Women Lawyers; Lawyers Club of San Francisco;

80577.1 _ 35 _

Case 1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 41 of 61

Queens Bench; Association of Business Trial Lawyers; Bay Area Lawyers for Individual
Freedom; ABA National Institute on Class Actions (Organizer/ Participant, 1997-2000).

RICHARD M HEIMANN, born Miami, Florida, August 23, 1948. Admitted to practice
in Pennsylvania, 1972; District of Columbia, 1974; Califomia, U.S. District Court, Northem
District of California and U.S. Court of Appeals Ninth Circuit, 1975; U.S. Supreme Court, 1980;
U.S. Court of Appeals Second Circuit, 1980; U.S. District Court, District of Hawaii, 1986.
Educan'on: Georgetown University (J.D., 1972); Georgetown Law Journal, 1971-72; University
of Florida (B.S.B.A., with honors 1969). Employmenr: Mr. Heimann served as Deputy District
Attomey and Acting Assistant District Attorney for Tulare County, Califomia, and as an
Assistant Public Defender in Philadelphia, Pennsylvania, 1972-74. As a private civil law
attorney, Mr. Heimann has tried over 30 civil jury cases including complex cases such as the
successful FPI/Agretech and Edsaco securities class action trials In April 2002 in the Edsaco
case, a federal jury in San Francisco, California returned a 8170.7 million verdict against Edsaco
Ltd., which included $165 million in punitive damages Following the Edsach trial, the parties
reached a settlement of the action on favorable monetary terms to the class which included
Edsaco’s relinquishment of its right to appeal and the plaintiffs agreement to vacate the jury
verdict. Member: State Bar of Califomia; Bar Association of San Francisco. Awards and
Honors.' Northem California SuperLawyerS, 2004,

WILLIAM BERNSTEIN, born York, Pennsylvania, July 5, 1950. Admitted to practice
in Califomia, 1975; U.S. Court of Appeals, Ninth Circuit, 1975; New York and U.S, Supreme
Court, 1985; U.S. District Court, Central and Eastern Districts of Califomia, 1991; U.S. District
Court, Southem District of Califomia, 1992. Educarion: University of San Francisco (J.D.
1975); San Francisco Law Revz`ew, 1974-75; University of Pennsylvania (B.A., general honors
1972). Community Service: Judge Pro Tem for San Francisco Superior Court, 2000-present;
Marin Municipal Court, 1984', Discovery Referce for the Marin Superior Court, 1984-89;
Arbitrator for the Superior Court of Marin, 1984-1990. Publications: Co-author with Donald C.
Arbitblit, “Effective Use of Class Action Procedures in California Toxic Tort Litigation”,

3 Hastings West-Northwest Journal of Envr`ronmenfal Law and Polr'cy, No. 3 (Spring 1996).
Member: State Bar of Califomia; State Bar of New York; Marin County Bar Association
(Admin. of Justice Committee, 1988); Bar Association of San Francisco. Awards and Honors:
Northem California SuperLawyers, 2004.

JAMES M'. FINBERG, born Baltimore, Maryland, September 6, 1958. Admitted to
practice in Califomia, 1984; U.S. District Court, Northem District of Califomia, 1984; U.S.
Court of Appeals Ninth Circuit7 1987; U.S. Court of Appeals, Federal Circuit, 1987; U.S.
District Court, Eastern District of Califomia, 1987; U.S. District Court, District of Hawaii, 1988;
U.S. District Court, Central District of Califomia, 1992; U,S. District Court, Southem District of
Califomia, 1992; U.S. Court of Appeals Tenth Circuit, 1992; U.S. Supreme Court, 1994; U.S.
Court of Appeals Eleventh Circuit, 1999; U.S. District Court, District of Colorado, 2001; U.S.
Third Circuit Court of Appeals 2001; U.S. District Court, Southem District of Texas, 2003.
Educan`on: University of Chicago (J.D., 1983); Executive Editor, University of Chicago Law
Review, 1982-83; Brown University (B.A., 1980). Employ)nent: Law Clerk to Justice Charles L.
Levin, Michigan Supreme Court, 1983~84. Publr`cations.' Co-Author with Chimene l. Keitner,
“New Overtime Regulations Require Heightened Vigilance,” San Francisco Attorney Magazine,

805'.'7.1 _ 36 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 42 of 61

Spring 2004; Co-Author with Chimene 1. Keitner, “Summary of Proposed DOL Regulations Re
FLSA Overtime Exemptions” (2003) (American Bar Association ~ Labor and Employment Law,
Federal Labor Standards Legislation Committee Annual Report); Editor, 2000 and 2002
Cumulative Supplements to Chapter 39, “Statistical Proof,” Employment Discrr`mz`naa'on Law
(3rd ed., Lindemann and Grossman); Co-Author, “Statistical and Other Expert Proof,”
Employment Discrimr'nation Law (4th ed., Lindemann and Grossman); “Title Vll’s Remedial
Scheme: Employment Discrimination Class Actions at the Crossroads” San Francisco Aaorney
(August/September 2002); "Certification of Employment Discrimination Actions After The
Passage of the 1991 Civil Rights Act: (b)(2) or Not (b)(2), That Is The Question, " Class Actions
& Derivative Saits, Vol. 10 (March 2000); Co-Author with Joshua P. Davis, “Allc`son v. Cirgc)
Petroleum Corp.~ A Noble Retreat,” Class Actions & Derivative Suc`ts, Vol. 9, No. l (Winter
1999); Co~Author with Kelly Derrnody, “Discovery in Employment Discrimination Class
Actions,” in Litigation and Settlement ofComplex Class Actions (Glasser Legal Works 1998);
Co-Author with Melanie M. Piech, “The Impact of the Private Securities Litigation Reform Act:
Unintended Consequences,” Securities Reform Act Litigation Reporrer, Vol. 6, No. 3 (Dec.
1998); Co-Author with Karen Jo Koonan, “The Importance of Anecdotal Testimony to the Jury
Trial of a Title Vll Class Action: Lessons from Batler v. Home Depot,” Class Actions &
Derivative Suirs, Vol. 8, No. 3 (Summer 1998); “Northern District of California Requires
lnternet Posting of Pleadings And Key Briefs In Securities Actions,” “Secarities Reforin Act
Litigation Reporter” (1997); “Class Actions: Useful Devices That Promote l udicial Economy
And Provide Access to Justice,” 41 New York Law School Law Revr'ew 353 (1997); Co~Author
(with Melvin R. Goldman), “Deposing Expert Witnesses” in Takr'ng Depositions (ABA) (1989);
Co-Author (with George C. Weickhardt), “New Push For Chemical Weapons,” Bullea`n ofthe
Aromz'c Scientist (Nov. 1986); Comment, “The General Mining Law and The Doctrine of Pedis
Possessio: The Case For Congressional Action,” 49 Universin of Chicago Law Review 1027
(1982). Member: Bar Association of San Francisco (President-elect, 2004; Treasurer, 2003;
Secretary, 2002; Board of Directors, 1998-2000; Judicial Evaluation Committee, 1994);
Lawyers’ Committee for Civil Rights of the San Francisco Bay Area (Board of Directors, 1992-
98; Co-Chair 1997-98; Finance Chair, 1992-95; Secretary, 1996); Board of Editors Securities
Litigation Reporter (Glasser LegalWorks); ACLU of Northem California (Board of Directors,
1994-95); Northem District of California Advisory Committee on Local Rules Under the
Securities Litigation Reform Act, 1996-present; American Bar Association (Member, Class
Actions and Derivative Suits Committee; Chair, Securities Subcommittee, 1998-2001; Chair,
Plaintiff Program, Equal Employment Opportunity Committee, 2000-present); Ninth Circuit
Judicial Conference (Lawyer Representative 1998-2000; Co-Chair of Northem District of
California Lawyer Representative Delegation, 1999-2000); Ninth Circuit Public lnformation
Outreach Committee (Member, 2001 -present); Standing Committee on Legal Services to the
Poor of the State Bar of California (1990-94; Vice Chair, 1993-94). Awara's and Honors: ln
2003, he was selected by The Recora’er legal newspaper (based on a survey of judges arbitrators
mediators, and lawyers in the field) as the top plaintiffs’ securities litigator in the San Francisco
Bay Area; Northem California SuperLawyers, 2004; “Top San Francisco Employment
Lawyers,” The Recorder, June 2004; 2001-2002 Outstanding Subcommittee Chair for the Class
Actions & Derivative Suits of ABA Section of Litigation.

JOSEPH R. SA VERI, born San Francisco, Califomia, August 18, 1962. Admitted to
practice in Califomia, 1987; U.S. District Court, Northem District of` California; U.S. District

sos'n'.r _ 37 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 43 of 61

Court, Central District of Califomia, U.S. District Court, Southem District of Califomia; U.S.
Court of Appeals Seventh Circuit; U.S. Court of Appeals Eighth Circuit; U.S. Court of Appeals
Ninth Circuit; U.S. Court of Appeals First Circuit. Edacatz'on: University of Virginia (J.D.,
1987); University of California at Berkeley (B.A., 1984). Publi'caa`ons and Presentaa'ons:
Panelist, "Soaring Prices for Prescription Drugs: Just Rewards for lnnovations or Antitrust
Violations?", University of San Francisco Law Review U\lovember 13, 2004); California
Antitrust & Unfair Competition Law 3d (Antitrust and Unfair Competition Law Section of the
State Bar of California 2003); Panelist, Fordham Conference on Electronic Discovery, Discovery
Subcommittee of Advisory Committee on the Rules of Civil Procedure; Contributing Author,
California Class Actions Practice and Procedure (Elizabeth J. Cabraser editor in chief, 2003);
“RICO Update,” 22 Revz`ew of Securities and Commoditr'es Regulatz`on, No. 18 (Oct. 25, 1989).
Member: Bar Association of San Francisco; State Bar of Califomia, ltalian American Bar
Association; Lawyers Club of San Francisco.

DONALD C. ARBITBLIT, bom Jersey City, New Jersey, May 5, 1951. Admitted to
practice in Vermont, 1979; California and U.S. District Court, Northem District of Califomia,
1986. Educaa`on: Boalt Hall School of Law, University of California (J.D., 1979); Order of the
Coif; Tufts University (B.S., magna cum laude, 1974). Publicatr`ons: “Comment on Joiner:
Decision on the Daubert Test of Admissibility of Expert Testimony,” 6 Mealey 's Emerging
Toxic Torts, No. 18 (December 1997); Co-author with William Bernstein, “Effective Use of
Class Action Procedures in California Toxic Tort Litigation,” 3 Hasn'ngs Wesr-Northwest
Journal of Environmental Law and Polz`cy, No. 3 (Spring 1996); “The Plight of American
Citizens Injured by Transboundary River Pollution,” 8 Ecology Law Qaarterly, No. 2 (1979).
Appointments: Member of the Federal Court-appointed Science and Expert Witness Committees
in In re Diet Drngs (Phenterrnine/Fenflnramine/Dexfenjlnramz`ne) Products Lc'abr`lr'ry Lz`tigatr`on,
MDL No. 1203 (E.D. Pa.), fn re Baycol Products Lia`gatr'on, MDL No. 1431 (D. Minn.) and
Rezali`n Products Liabc`lr'ly Lia`gation, MDLNo. 1348 (S.D. N.Y.). Member: Bar Association of
San Francisco; State Bar of California. Awards and Honors: Northem California SuperLawyers,
2004.

STEVENE. FINEMAN, born Los Angeles, Califomia, February 13, 1963. Managing
Partner. Admitted to practice in Califomia, 1989; U.S. District Court, Northem, Eastern and
Central Districts of California and U.S. Court of Appeals Ninth Circuit, 1995; U.S. Court of
Appeals Fifth Circuit, 1996; New York, U.S. District Court, Eastern and Southem Districts of
New York, U.S. Court of Appeals Second Circuit and U.S. Supreme Court, 1997 ; District of
Columbia, 1997. Edncaa'on: University of Califomia, Hastings College of the Law (J.D., 1988);
University of Califomia, San Diego (B.A., 1985); Stirling University, Scotland (English
Literature and Political Science, 1983-84). Honors/Appoinrmenrs: “40 under 40”, National Law
Joarnal, 2002, recognized as one of the nation’s most successful young litigators; Board of
Directors, Trial Lawyers for Public Justice (July 2002-present); Board of Trustees, Civil Justice
Foundation (January 2004-present); Board of Directors New York State Trial Lawyers
Association (July 2001-July 2004); Lexis/Nexis - Mealey’s Toxic Tort Advisory Council
(January 2002-present). Pablican`ons/Presenmanns: Stanford University Law School, The
Stanford Center on Conflict and Negotiation, lnterdisciplinary Seminar on Conflict and Dispute
Resolution, Guest Lecturer, In Search of “Global Settlements Resolvz'ng Class Actions and
Mass Torrs with Finalily (March 16, 2004, Stanford, California); Lexis/Nexis, Mealey’s
Publications and Conferences Group, Wall Street Forum: Mass Tort Litigation, Co-Chair of

80577.1 _ 38 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 44 of 61

Event (July 15, 2003, New York, New York); Northstar Conferences, The Class Action
Litigation Summit, Panel Member on Class Actions in the Securities lndustry, and Paper,
Practical Considerationsfor Investors' Counsel ~ Gettz`ng the Case (J unc 27, 2003, Washington,
D.C.); The Manhattan Institutc, Center for Legal Policy, Forum Commentator on Presentation by
John H. Beisner, “Magnet Courts: If You Build Them, Claims Will Come” (April 22, 2003, New
York, New York); Stanford University Law School, Guest Lecturer for Professor Deborah
Hensler‘s Courses on Complex Litigation ("Selecting The Forum For a Complex Case --
Strategic Choices Between Federal And State Jurisdictions") and Altemative Dispute Resolution
("ADR In Mass Tort Litigation") (March 4, 2003, Stanford, California); American Bar
Association, T_ort and lnsurance Practice Section, Emerging Issues Committee, Member of Focus
Group on Emerging Issues in Tort and lnsurance Practice (coordinated event with New York
University Law School and University of Connecticut Law School, August 27, 2002, New York,
New York); Duke University and University of Geneva, Debares Over Group Litigation in
Comparan've Perspectfve, Panel Member on Mass Torts and Products Liability (July 21»22,
2000, Geneva, Switzerland); New York Law Journal, Article, Consumer Proteca`on Class
Actions Have Imporrant Positr`on, Applyr'ng New York ’s Statutory Scherne (November 23, 1998);
Leader Publications, Litigation Strategist, "Fen-Phen" Articles The Admz`ssz`bz'h`ry ofSc£enfr`jic
Evidence in Fen-Phen Litigation and Daubert Developmenrs: Sornethingfor Plaz`nti]jfs, Defense
Counsel (June 1998, New York, New York); T he Defense Research Institute and Trial Lawyer
Association, Toxic Torts and Environmental Law Seminar, Article and Lecture, A Plaintiffs’
Counseer ’ Perspectr`ve.' What 's the Next Horz`zon ? (April 30, 1998, New York, New York);
Lexis/Nexis Mealey’S Publications and Conference Group, Mealey’s Tobacco Conference:
Settlement and Beyond 1998, Article and Lecture, The Expandr`ng Litigation (February 21, 1998,
Washington, D.C.); New York State Bar Association, Expert Testimony in F ederal Court After
Daubert and New Federal Rule 26, Article and Lecture, Breast Implant Litigation: Plaintiffs ’
Perspeca`ve on the Daubert Princr'ples (May 23, 1997, New York, New York). Member:
American Bar Association; New York Bar Association; Califomia Bar Association; District of
Columbia Bar Association; Trial Lawyers for Public Justice; Association of the Bar of the City
of New York; Association of Trial Lawyers of America; Supreme Court Historical Society; New

York State Trial Lawyers Association, Lawyers’ Committee for Human Rights, aka Human
Rights First.

ROBERT .I. NELSON, born New York, New York, October 20, 1960; admitted practice
in Califomia, 1987; U.S. District Court, Central District of Califomia, 1987; U.S. District Court,
Northem District of Califomia, 1988; U.S. Court of Appeals Ninth Circuit, 1988; U.S. Court of
Appeals Sixth Circuit, 1995; District of Columbia, 1998; New York, 1999; U.S. District Court,
Eastern District of New York, Southem District of New York, 2001. Edncazion: N.Y.U. School
of Law (].D., 1987); Root-Tilden Scholarship Progranr, N.Y.U. School of Law; Order of the
Coif, N.Y.U. School of Law; Articles Editor, New York University Law Review; Cornell
University (A.B., cum lande 1982); Member, Phi Beta Kappa, Cornel]; Member, College Scholar
Honors Program, Cornell; London School of Economics (General Course, 1980-81).
Employment Law Clerk to Judge Stephen Reinhardt, U.S. Court of Appeals Ninth Circuit,
1987-88; Assistant Federal Public Defender, Northem District of Califomia, 1988-93; Legal
Research and Writing lnstructor, University of California-Hastings College of the Law, 1989-91;
Faculty Member, Stanford Law School Advocacy Skills Workshop, 1994-95. Publications
Contributing Author, California Class Actions Practice and Procedures (Elizabeth J. Cabraser

80577.1 _ 39 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 45 of 61

editor in chief, 2003); “To Infer or Not to Infer a Discriminatory Purpose: Rethinking Equal
Protection Doctrine,” 61 New York University Law Review 334 (1986). Member: State Bar of
Califomia; Bar of the District of Columbia; State Bar of New York; Bar Association of San
Francisco; Association of Trial Lawyers of America; American Bar Association. Awards and
Honors.' Northem California SuperLawyers, 2004.

MORRIS A. RATNER, born San Jose, Califomia, November 13, 1966. Admitted to
practice in Califomia, 1991; District of Columbia, 1999; New York, 2000; U.S. District Court,
Northem, Central and Southem Districts of Califomia; and U.S. Court of Appeals Second,
Third, Sixth and Ninth Circuits. Edncaa'on: Harvard University (J.D., 1991); Stanford
University (B.A., with distinction, 1988); Phi Beta Kappa. Publications Contributing Author,
California Class Actions Practice and Procedures (Elizabeth J. Cabraser editor in chief, 2003);
“Factors Impacting the Selection and Positioning of Human Rights Class Actions in United
States Courts: A Practical Overview,” 58 New York University Annual Survey of American Law
623 (2003); “The Settlement of Nazi-Era Litigation Through the Executive and J udicial
Branches,” 20 Berkeley Journal oflnrernational Law 212 (No. l, March 2002). Member: State
Bar of California; State Bar of New York; Bar of the District of Columbia; Bar Association of
San Francisco.

KELLYM. DERMODY, born lthaca, New York, June 16, 1967. Admitted to practice in
Califomia, 1994; U.S. District Court, Northem District of Califomia, 1995; U.S. Third Circuit
Court of Appeals 2001. Edncaa'on: Boalt Hall School of Law, University of Califomia,
Berkeley (J.D. 1993); Moot Court Executive Board (1992-1993); Articles Editor, Ina'astrial
Relatr`ons Law Joarnal/Berkeley Joarnal ofEmploymenr and Labor Law (1991-1992); Harvard
University (A.B. magna cum laude, 1990), Senior Class Ames Memorial Public Service Award.
Employment Law Clerk to Chief Judge John T. Nixon, U.S. District Court, Middle District of
Tennessee, 1993-1994; Adjunct Professor of Law, Golden Gate University School of Law,
Employment Law (Spring 2001). Publicarions/Presenraa`ons: “Class Actions: Latest
Developments in Litigating and Settling Employment Discrimination Class Actions” (American
Bar Association Labor and Employment Section Equal Opportunity Committee, Mid-Year
Meeting, 2001); Co-Author with J ames M. Finberg, “A Road Map to Discovery in Employment
Discrimination and Wage/Hour Class Actions” (Glasser Legal Works Seminar, 2000);
“Employment Discrimination Class Actions in the Wake of Allison v. Citgo Petroleum Corp.”
(American Bar Association Litigation Section Annual Meeting, 2000); “Employment
Discrimination Class Actions in the Wake of Allison v. Citgo Petroleum Corn. and Fed. R. Civ.
P. 23(f)” (Federal Bar Association Convention, 1999); Co-Author with J ames M. Finberg,
“Discovery in Employment Discrimination Class Actions” in Litigation and Settlement of
Complex Class Actions (Glasser Legal Works 1998), Member: American Bar Association
(Labor and Employment Law Section and Equal Employment Opportunity Committee (Co-
Chair, 2003-present; Mid-Year Meeting, Planning Committee, 2000-present)); ABA Young
Lawyers Division Labor and Employment Committee (Vice-Chair, 1997-1999); Lawyers'
Committee for Civil Rights of the San Francisco Bay Area (Board of Directors, l998-present;
Secretary, 1999-2003; Co-Chair, 2003-present); National Center for Lesbian Rights (Board of
Directors, 2002-present); Board of Directors, Pride Law Fund (Secretary, 1995-1997;
Chairperson, 1997-2002); Equal Rights Advocates (Litigation Committee, 2000-2002); Bar
Association of San Francisco (Litigation Section, Executive Committee, 2002-present); State Bar

30577.1 _ 40 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 46 of 61

of California; Consumer Attomeys of Califomia; National Employment Lawyers' Association;
Bay Area Lawyers for lndividual Freedom.

JONA THAN D. SELBIN, born Baton Rouge, Louisiana, May ll, 1967, Admitted to
practice in California; District of Columbia; New York; U.S. Court of Appeals Fifth Circuit;
U.S. District Court, Northem District of California; U.S. District Court, Central District of
California; U.S. District Court, Southem District of New York. Edacarion: Harvard University
(J.D., magna cum lande, 1993); University of Michigan (B.A., summa cum laude, 1989).
i_i'mplc)yr:ncenr.l Law Clerk to Judge Marilyn Hall Patel, U.S. District Court, Northem District of
Califomia, 1993-95. Publications Contributing Author, Calayornia Class Actions Practice and
Procedures (Elizabeth J. Cabraser editor in chief, 2003); “Bashers Beware: The Continuing
Constitutionality of Hate Crimes Statutes After R.A.V.,” 72 Oregon Law Review 157 (Spring,
1993). Member: State Bar of California; Bar of the District of Columbia; State Bar of New
York; American Bar Association; New York State Trial Lawyers Association,

BARRYR. HIMMELSTEIN, born Philadelphia, Pennsylvania, March 14, 1958.
Admitted to bar, 1992, Califomia; U.S. District Court, Northem District of Califomia, 1992.
Educaa`on: Hastings College of the Law (J.D., magna cam laude, 1991); Note and Articles
Editor, Hastings Law Joarnal (1990-91); University of Michigan at Ann Arbor (B.G.S., with
distinction, 1982). Publications Contributing Author, California Class Actions Practice and
Procedures (Elizabeth J. Cabraser editor in chief, 2003). Employment: Law Clerk to Judge
Charles A. Legge, U.S, District Court, Northem District of Califomia, 1991-92. Member: State
Bar of Califomia; Bar Association of San Francisco.

ROBERT G. EISLER, born Philadelphia, Pennsylvania, January 6, 1964. Admitted to
bar, 1989, Pennsylvania; 1989, U.S. District Court, Eastern District of Pennsylvania; 2000, New
York; 2001, U.S. District Court, Southern District of New York. Edacation: Villanova
University School of Law (J.D., 1989); LaSalle University (B.A., 1986). Member:` American
Bar Association, Bar Association of the City of New York, Pennsylvania Bar Association,_
Philadelphia Bar Association.

MICHELE C. JA CKSON, born Redwood City, Califomia, January 17, 1954. Admitted
to bar, 1979, California; U.S. District Court, Northem District of Califomia, 1979; United States
Supreme Court; U,S. Court of Appeals Ninth Circuit, 1981; U.S. District Court, Central District
of Califomia, 1985; U.S. Court of Appeals, Fif`th Circuit, 1989. Educaa'on: University of San
Francisco School of Law (J.D., cum lande, 1979); Stanford University (B.A., with honors 1976).
Employment J udicial Extem to Justice Wiley W. Manuel, Califomia-Supreme Court, Summer
1977, Publications Chapter Co-Author with Marc Seltzer, "State Antitrust Law and Intellectual
Property" in California Antz'trast & Unfair Competition Law (Third), Vol. l: Antitrust,' Author,
American Bar Association, Section Of Antitrust Law Course Materials, Assen‘ed Defenses to a §
l 7200 Class Action Based 0n Korea Sapply -- The Interplay With Indr`rect Pnrchaser Litigatz'on;
Contributing Author, California Class Actions Practice and Procedure (2003). Awara's and
Honors: Recipient of State Bar Board of Governors Award. Appor'nrnients: Officer, Advisor and
Executive Committee Member, State Bar of California Antitrust and Unfair Competition Section
(term beginning September 9, 2001). Member: American Bar Association; State Bar of
California', Bar Association of San Francisco; McAuliffe Law Honor Society.

80577.1 _ 41 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 47 of 61

MICHAEL W. SOBOL, born Mt. Kisco, New York, October 5, 1961. Admitted to
practice in Massachusetts, 1989; Califomia, 1998; United States District Court, District of
Massachusetts, 1990; U.S. District Court, Northem District of Califomia, 2001. Educaa'on:
Boston University (J.D., 1989); Hobart College (B.A., cum lande, 1983). Employment Lecturer
in Law, Boston University School of Law, 1995-1997. Member: State Bar of Califomia; Bar
Association of San Francisco.

MELANIE M PIECH, born Los Angeles, Califomia, April 18, 1964. Admitted to
practice in Califomia, 1989; U.S. Court of Appeals for the Ninth Circuit, 1990; U.S. District
Court, Central District of Califomia, 1990; U.S. District Court, Northem District of Califomia,
1991. Edncaaon: Hastings College of the Law, University of California (J.D., 1989); Loyola
Marymount University (B.A., magna cam laude, 1986). Publications Co~Author with J ames
M. Finberg, “The Impact of the Private Securities Litigation Reform Act: Unintended
Consequences,” Securities Reform Act Litigation Reporter, Vol. 6, No. 3 (Dec. 1998). Member:
State Bar of Califomia; Bar Association of San Francisco.

FABRICE N. VINCENT, born Paris, France, June 15, 1966. Admitted to practice in
Califomia, 1992; U.S. District Court, Northem District of Califomia, Central District of
Califomia, Eastern District of Califomia, Ninth Circuit Court of Appeals 1992. Educaa`on:
Cornell Law School (J.D., cum lande, 1992); University of California at Berkeley (B.A., 1989).
Publications Co-Editor, California Class Actions Practice and Procedures (2003-04); Co-
Author, “Ethics and Admissibility: Failure to Disclose Conflicts of lnterest in and/or Funding of
Scientific Studies and/or Data May Warrant Evidentiary Exclusions,” Mealey's December
Emerging Drugs Reporrer (December 2002); Co-author with Elizabeth J. Cabraser, “The
Shareholder Strikes Back: Varied Approaches to Civil Litigation Claims Are Available to Help
Make Shareholders Whole,” Mealey ’s Emerging Securities Litigation Reporter (September
2002); Co-Author, “Decisions lnterpreting California’s Rules of Class Action Procedure,"
Survey ofState Class fiction Law (ABA 2000-2004), updated and re-published in 5 Newberg On
Class Actions (2001-04); Coordinating Editor and Co-Author of California section of the ABA
State Class Action Survey (2001-02); Co-Editor-In-Chief, Fen-Phen Litigation Strategz`sr
(Leader Publications 1998-2000) and author of “Off-Label Drug Promotion Permitted” (Oct.
1999); Co-Author, “The Future of Prescription Drug Products Liability Litigation in a Changing
Marketplace,” and “Six Courts Certify Medical Monitoring Claims for Class Treatment,” 29
Forum 4 (Consumer Attorneys of California 1999); Co~Author, Class Certy‘z`catr`on OfMedical
Monitoring Claims in Mass Tort Product Lr`abilr'ty Litigation (ALl-ABA Course of Study 1999);
Co-Author, “How Class Proofs of Claim in Bankruptcy Can Help in Medical Monitoring Cases,”
(Leader Publications 1999); Co-Author, Introduction, “Sanctioning Discovery Abuses in the
F ederal Court,” (LRP Publications 2000); “With Final Approval, Diet Drug Class Action
Settlement Avoids Problems That Doomed Asbestos Pact,” (Leader Publications 2000).
Member: State Bar of California; Bar Association of San Francisco; American Bar Association;
Association of Trial Lawyers of America; Association of Business Trial Lawyers

DA VID S. STELLINGS, born New Jersey, April 23, 1968. Admitted to practice in New
York, 1994; New Jersey; 1994; U.S. District Court, Southem District of New York, 1994.
Edacaa`on: New York University School of Law (J.D., 1993); Editor, Joarnal offnternan`onal
Law and Politr`cs,' Cornell University (B.A., cum lands 1990). Member: State Bar of New

sos'.'r.r _ 42 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 48 of 61

York; State Bar of New Jersey; Bar Association of the City ofNew York; New York State Bar
Association; American Bar Association.

ERIC B. FASTIFF, born San Francisco, Califomia, March 22, 1968. Admitted to
practice in Califomia, 1996; District of Columbia, 1997; U.S. Court of Appeals for the Ninth
Circuit, U.S. District Courts for the Northem and Central Districts of Califomia, District of
Columbia; U.S. Court of Federal Claims 1997. Edacaa'on: Cornell Law School (J.D., 1995);
Editor-in-Chief, Cornell Inrernational Law Journal; London School of Economics (M. Sc. Econ,
1991); Tufts University (B.A., cum laude, magna cum honore fn thesi, 1990). Employment
Law Clerk to Hon. J ames T. Tumer, U.S. Court of Federal Claims, 1995-1996. Publications
Co-Editor, California Class Actions Practice and Procedures (Elizabeth J . Cabraser, Editor-in-
Chief, 2004); “US Generic Drug Litigation Updatc,” l Journal of Generic Medicines 212 (2004);
“The Proposed Hague Convention on the Recognition and Enforcement of Civil and Commercial
Judgments: A Solution to Butch Reynolds’s Jurisdiction and Enforcement Problems,”

28 Cornell Inrernan'onal Law Joarnal 469 (1995). Member: State Bar of Califomia; District of
Columbia Bar Association; Bar Association of San Francisco; Bar of the U.S. Court of Federal
Claims; Editorial Board Member, Joarna[ of Generic Medicines, 2003-present

WENDYFLEISHMAN, born Philadelphia, Pennsylvania, 1954. Admitted to practice in
Pennsylvania, 1977; New York, 1992. Educatr'on: University of Pennsylvania (Post-
Baccalaureate Pre-Med, 1982); Temple University (J.D., 1977); Sarah Lawrence College (B.A.,
1974). Employment: Skadden, Arps Slate, Meagher & Flom LLP in New York (Counsel in the
Mass Torts and Complex Litigation Department), 1993-2001; Fox, Rothschild O’Brien &
Frankel (partner), 1988-93 (tried more than thirty civil, criminal, employment and jury trials and
AAA arbitrations including toxic tort, medical malpractice and Serious injury and wrongful
death cases); Ballard Spahr Andrews & lngersoll (associate), 1984~88 (tried more than thirty jury
trials orr behalf of the defense and the plaintiffs in civil personal injury and tort actions as well as
employment- and construction-related matters); Assistant District Attorney in Philadelphia,
1977-84 (in charge of and tried major homicide and sex crime cases). Publications Co-Author,
“From the Defense Perspective,” in Scientific Evidence, Chapter 6, (Aspen Law Pub, 1999);
American Bar Association, Editor, Trr`al Techniqnes Newsletter, Tort and lnsurance Practices
Section, 1995-96; and 1993-94. Member: American Bar Association (2000, Affair Chair, ABA
Annual Meeting, Torts & lnsurance Practices Section, NYC; 1997, Chair, Trial Techniques
Committee, Tort & lnsurance Practices; 1996, Chair Elect, Trial Techniques Committee, Tort &
lnsurance Practices); Pennsylvania Bar Association (Committee on Legal Ethics and
Professionalism, l993-Present; Committee on Attorney Advertising, l993-Present; Vice-Chair,
Task Force on Attorney Advertising, 1991 -92); State Bar of New York, Federal Bar Association;
Member, Gender and Race Bias Task Force of the Second Circuit, 1994-present; Deputy
Counsel, Governor Cuomo’s Screening Committee for New York State J udicial Candidates,
1993-94; New York State Trial Lawyers Association; New York Women’s Bar Association;
Association of the Bar of the City of New York; New York County Lawyers; ATLA; NYTLA;
PATLA; Philadelphia Bar Association (Member of Committee on Professionalism 1991-92).

RICHARD T. SEYMOUR, born Grand Rapids, Michigan, August 22, 1942. Admitted to
practice in the District of Columbia, 1968; U.S. Court of Appeals D.C. Circuit, 1969; U.S. Court
of Appeals 4th Circuit, 1971; U.S. Court of Appeals Former 5th Circuit, 1971; U.S. Supreme
Court, 1972; U.S. District Court for the Northem District ofMississippi, 1975; U.S. Court of

80577.1 _ 43 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 49 of 61

Appeals Current 5th Circuit, U.S. Court of Appeals llth Circuit, 1981; U.S. Court of Appeals
3rd Circuit, U.S. Court of Appeals 10th Circuit, 1993; U.S. District Court for the Northem
District of New York, 1994; U.S. Court of Appeals 6th Circuit, U.S, Court of Appeals 9th
Circuit, U.S. District Court for the Southem District of Texas, 1997. Educan'on: Harvard Law
School (J.D., 1968); Aquinas College (B.A., 1965). Employment U.S. Commission on Civil
Rights, Office of General Counsel, June 1968 - Sept. 1969 (attorney); WaShington Research
Project (predecessor of the Children’s Defense Fund), Oct. 1969 - Sept. 1973 (attomey); Solo
practice, Oct. 1973 - Jan. 1977; Lawyers’ Committee for Civil Rights Under the Law, Jan. 1977 -
Feb. 2001 (Director, Government Employment Proj ect to 1979; Director, Employment
Discrimination Project to 2001); Adjunct Professor, Georgetown University Law Center,
Graduate Program, 1991-93. Publications Contributing Author, California Class Actions
Practice and Procedures (Elizabeth J. Cabraser editor in chief, 2003); “The Sixteen
Summary-Judgrnent Commandments,” 28 Trr`al (Dec. 2000); Co-Author with Barbara Berish
Brown, Eqnal Employment Law Update (BNA), Summer 1996 edition, Spring 1997 edition, Fall
1997 edition, Spring 1998 edition, Fall 1998 edition, Spring 1999 edition, Fall 1999 edition;
“Roundtable and Dialogue on the Effects of Ellerth and Faragher, " Employment Discri'mination
Reporr (BNA Aug. 19, 1998); “The Use of ‘Proof of Claim’ Fonns and Gag Orders in
Employment Discrimination Class Actions,” 10 Connecn`cnr Law Revz`ew 920 (1978); “Strategic
Effects of the Weber Decision on Employers,” reprinted in Equal Employment Practice Guide,
Vol. 1, Chapter 3 (Federal Bar Association 1980); Ajjr`rmarive Aca'on by Public Employers
Under the Terms of a Court Order (ABA, National institute on Affirrnative Action, 1980);

Post- Certi'fication Problems in Class Actions (Practicing Law Institute Handbook, Federal Civil
Rights Litigation, 1982); “Why Plaintiffs’ Counsel Challenge Tests, and How They Can
Successfully Challenge the Theory of ‘Validity Generalization,”’ 33 Joarnal of Vocatr`onal
Behavr`or 331 (1988)', “Predictability in EEO Litigation,” in Promotc'ng Minoritr'es and Women: A
Practr`cal an'de to Ajjirmatr've Actionfor the 1990s (BNA 1989); “The Loss of Predictability in
EEO Litigation, and Further Questions to be Resolved,” in Employment Discri`mination After the
1989 U.S. Supreme Court Rnli`ngs (Prentice Hall 1989). Member: American Bar Association
(Labor and Employment Law Section, 1998-present, Member of Council; l995-98-present,
Co-Chair CLE Committee; 1994-95, Co-Chair Annual Meeting Subcommittee; 1991-94,
Co-Chair Equal Employment Opportunity Committee; 1988-91, Co-Chair Subcommittee on
Liaison with Department of Labor; 2000-01, Council Task Force on Multidisciplinary Practice;
2000-01, Council Task Force on Govemment Fellowship Program; 1997 -98, Council Task Force
on lnvestments; 1998-2000, Council Task Force on Law Student Recruitment; 2000~Present,
Council Liaison to Task Force on Judicial Law Clerk Education; 1998-Present, Council Liaison
to the Alliance for Education in Dispute Resolution); Association of Lawyers of America
(Committee on the Courts; 1999-2000; Executive Committee of Employee Rights Division,
1999-2000; College of Labor and Employment Lawyers Fellow, Govemor, l998-Present; Chair,
Committee on Standards of Practice, 1998-2000).

BILL LANN LEE, admitted to practice in New York, 1975; Califomia, 1983; U.S.
District Court, Central and Northem Districts of California; U.S. Court of Appeals D.C.,
Second, Third, Fourth, Fifth, Sixth, Ninth and Eleventh Circuits; Supreme Court of the United
States Educatr`on: Columbia Law School (J.D. 1974), Stone Scholar, Best Moot Court Brief
Prize; Yale College (B.A. 1971), Phi Beta Kappa, magna cum lande in History. Employment:
Visiting Scholar, Columbia Law School, New York, NY, Feb.~Oct. 2001; Assistant Attorney
General for Civil Rights United States Department of Justice, Washington D.C., Dec. 1997-lan

30577,1 _ 44 a

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 50 of 61

2001; Western Regional Counsel, NAACP Legal Defense and Educational Fund, Inc., Los
Angeles, CA, 1988-97; Supervising Attorney for Civil Rights Litigation, Center for Law in the
Public lnterest, Los Angeles, CA, 1983-88; Assistant Counsel, NAACP Legal Defense and
Educational Fund, Inc., 1974~82; Counsel, Asian American Legal Defense and Education Fund,
New York, NY, 1979-80; Adjunct Professor of Political Science, Fordham University, New
York, NY, 1977-80. Awards and Honors: Northem California SuperLawyers, 2004; Pearlstein
Civil Rights Award, Anti-Defamation League, 2002; Honorary Doctorates in Law from City
University of New York Law School, 2001; North Carolina Central University, 2000 and
Wesleyan University, 1999; John Randolph Distinguished Service Award, United States
Department of Justice, 2001; Pioneer Award, Organization of Chinese Americans, 2000;
Trailblazer Award, National Asian Pacific American Bar Association, 1999; Judge Delbert E.
Wong Distinguished Service Award, Southern California Chinese Lawyers Association, 1998.
Publications/Presentan`ons: Symposium Addresses: “Reason, Passion & the Progress of Law:
Remembering and Advancing the Constitutional Vision of Justice William 'l`. Brennan,” Dinner
Address 300 Harvard Civil Rights-Civil Libera`es Law Review 321 (1998)', Book Review, “ln
Search of Equality, The Chinese Struggle Against Discrimination in Nineteenth Century
America” by Charles J. McClain, 21 Amerasz'a Journal 205 (1995); “For Affirmative Action,
Richmond Decision is a Detour, Not a Dead End,” Op-ed, Los Angeles Ti'mes, Feb. 8, 1989, at
p. 7 (with Jack Greenberg); “The Disparate Impact Model and Subj ective Criteria in
Employment Discrimination Litigation,” 5 Labor & Employment Law News, (Spring 1986) (with
Pearl Lattaker); “A Right to An lntegrated Education: A Survey,” 14 Urban Lawyer 423 (1982),
“Eliminating Barriers to Communications Between Class Action Counsel and Members in
Actions Brought Pursuant to Rule 23, F ederal Rules of Civil Procedure,” Report of the
Committee on Civil Rights of the Association ofthe Bar Ofthe City ofNew York (1980); “Racial
Discrimination in the United States” Helsr'nkr' Warch Committee (1980); “Yung Wing and the
Americanization of China,” 1 Amerasr'a Joarnal 25 (1971). Member: American Bar Association
(Co-Chair, Committee on Class Action and Derivative Suits, Litigation Section, 1992-94;
Association of the Bar of the City of New York, 1975-83, Member, Civil Rights Committee,
1979-83); Los Angeles County Bar Association, 1983-97; Ninth Circuit J udicial Conference,
Central District California Lawyer Representative, 1990-93; Southem California Chinese
Lawyers Association, 1988-97, Member, Board of Governors, 1988-90.

PA ULINA DO AMARAL, born New York, New York, February 1966. Admitted to
practice in New York, 1997; Califomia, 1998; U,S. Court of Appeals Ninth Circuit, 1999; U.S.
District Court, Southem District of New York, 2004. Educaa`on: Hastings College of Law,
University of California (J.D., 1996); Executive Editor, Hastings Constz'raa`onal Law Qaarterly;
National Moot Court Competition Team, 1995 ; Moot Court Executive Board; University of
Rochester (B.A., 1988). Employment Law Clerk to Chief Judge Richard Alan Enslen, U.S.
District Court, Western District of Michigan, 1996-98. Member: American Bar Association;
State Bar of New York, State Bar of Califomia, Bar Association of San Francisco; American
Trial Lawyers Association; Association of the Bar of the City of New York.

HEA THER A. FOSTER, born Washington, D.C., October 2, 1970. Admitted to practice
in Califomia, 1996; U.S. District Court, Northem District of Califomia, 1996. Educaa'on:
University of the Pacific, McGeorge School of Law (J.D., 1996); Moot Court Honors Board,
1995-96; Trial Advocacy Honors 1996; Boston College (B.A., 1992). Employment: Adjunct
Professor, San Francisco State University _ College of Extended Leaming, Paralegal and LNC

sosrr.r _ 45 _

Case 1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 51 of 61

program (Fall 2000-Spring 2001). Publications Co-Author, Class Cernjication ofMedical
Monitoring Clar`ms in Mass Tort Product Liabz'lz`ty Litigation (ALI-ABA Course of Study, 1999).
Bar-Related Acrivia`es: Volunteer Legal Services Program, BASF, Liaison for the Summer
Associate Public Service Prograrn - Homeless Advocacy Program, 2002; Volunteer Legal
Services Prograrn, BASF, Teachers in the Schools Program, 1999-2000; Volunteer Legal
Services Prograrn, BASF, Pro Bono Attorney a Family Law Clinic, 1999. Member: American
Bar Association (Litigation Section); State Bar of California; Bar Association of San Francisco;
Association of Trial Lawyers of America; Phi Alpha Delta; Legal Assistant Management
Association; Association of Legal Administrators.

HECTOR D. GERIBON, born Montevideo, Uruguay, November 5, 1966. Admitted to
practice in New Jersey and New York, 1997; Califomia, 1999; U.S. District Court, District of
New Jersey, 1997; U.S. Court of Appeals for the Ninth Circuit, U.S. District Courts for the
Northem and Central Districts of Califomia, 1999; U.S. Court of Appeals Third Circuit, 2001;
U.S. District Court, Southem District of New York, 2003. Edacation: Brooklyn Law School
(J.D., 1996); Moot Court Honor Society; American Jurisprudence Award for Health Law;
Recipient, Edward V. Sparer Public lnterest Law Fellowship; St. John`s University, (B.S.,
Dean’s List, 1988). Employment Law Clerk to Judge Manuel L. Real, U.S. District Court,
Central District of Califomia, 1997-98; Judicial Extem to Chief.ludge Peter C. Dorsey, U.S,
District Court, District of Connecticut, 1995. Member: State Bar of New York; Bar Association
of the City of New York, American Bar Association.

LISA J. LEEBOVE, born Detroit, Michigan, October 23, 1970. Admitted to practice in
Califomia, 1996; U.S. District Court, Northem District of Califomia, 1997; U.S. Court of
Appeals Ninth Circuit, 1999; U.S. District Court, Central District of Califomia, 2002.
Edncarion: Hastings College of the Law (J.D. cum lande 1996); Member, Hastings Law Journal
(1994-95), Associate Notes Editor, Hastings Law Joarnal (1995-96); University of Arizona
(B.A. cum lande 1992). Employment J udicial Extem to Judge Susan Y. lllston, U.S. District
Court, Northem District of Califomia, 1996. Publications Contributing Author, California Class
Actions Practice and Procedures (Elizabeth J. Cabraser editor in chief, 2003). Member: State
Bar of California; Bar Association of San Francisco; American Bar Association.

STEVEN M TINDALL, born Columbia, South Carolina, April 12, 1968. Admitted to
practice in Califomia, 1996; U.S. District Court, Eastern District of Califomia, 2004; U.S.
District Court, Northem District of Califomia, 2001; U.S. District Court, Central District of
Califomia, 2000, Educan`on: Boalt Hall School of Law, University of California at Berkeley
(J.D., 1996); Moot Court; Co-Director of Workers’ Rights Clinic, 1994; Yale University (B.A.,
English Literature, summa cum lande, Phi Beta Kappa, 1990). Employment Law Clerk to Chief
Judge Judith N. Keep, U.S. District Court, Southem District of Califomia, 1996-97; Law Clerk
to Judge Claudia Wilken, U.S. District Court, Northem District of Califomia, 1997-98.
Publications Contributing Author, California Class Actions Practice and Procedures (Elizabeth
J. Cabraser editor in chief, 2003); “‘Do as she does, not as she says: The Shortcoming of Justice
O’Connor’s Direct Evidence Requirement in Prc`ce Waterhonse v. Hopkr'ns,” 17 Berkeley Journal

of Employment and Labor Law 332 (1996). Member: State Bar of California; Bar Association
of San Francisco.

80577.1 _ 46 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 52 of 61

KATHRYN E. BARNETT, born Chapel Hill, North Carolina, October 23, 1967 .
Admitted to practice in Tennessee, 1992; U.S. District Court, Middle District of Tennessee,
1997; U.S. 6th Circuit, 2000; U.S. District Court, Western District of Tennessee, 2001; U.S. llth
Circuit, 2003. Educan`on: Vanderbilt University School of Law (J.D., 1992); American
Jurisprudence Awards: Torts I and Jurisprudence; Davidson College (B.A., with Honors in
Philosophy, 1989), Dean Rusk Grant for lntemational Studies Litigation Experience: Ms.
Bamett has tried over 15 civil and criminal trials including complex and class action cases as
well as catastrophic personal injury cases ln 2000, Ms. Bamett obtained a verdict of nearly $6
million on behalf of parents whose unborn fetus died tragically due to medical malpractice In
March, 2004, Ms. Bamett served as co-lead trial counsel in the class action lawsuit of fn re Trr`-
State Cremarory Lz'n'gaa'on, Multi-District Litigation Docket No. 1467. The case was settled
during the second week of trial. The settlements in the Tri-State litigation exceed 540 million.
Employment Judicial Irrtern to Judge John T. Nixon, U.S. District Court, Middle District of
Tennessee, Fall 1990; Assistant Public Defender, Davidson County, Tennessee, Sept. 1991-
Dec. 1995, Pablicarions/Presenrations: "Limiting the Harrnful Testimony of Experts on the
Law," Trial (J an 2001); "Letting Focus Groups Work for You," Trial (April 1999); "Damages,"
Tennessee Trial Lawyers (Oct. and Nov. 2003); "'l`rying the Wrongful Death Case in
Tennessee," National Business Institute (Aug. 2003); "Advanced Personal Inj ury," National
Business Institute (July 2003); “Mass Torts," Tennessee Bar Association (July 2002); “Superior
Depositions Strategies in Civil Trial Practice," National Business Institute (Jan. 2002, Dec.
1999); "Lawsuits Against the Nursing Home Industry," Tennessee Trial Lawyers (Feb. 2000);
"How to Prepare for Mediation and other Practice Tips," Nashville Bar Association (Oct. 2000);
"Tennessee Expert Witness" Lonnan Education Services (July 2000); "Using Focus Groups to
Get the Settlement or Verdict Your Client Deserves" Tennessee Trial Lawyers (Feb. 1999).
Member: Tennessee Trial Lawyers (Board of Govemors, 2002-2005; Chair Continuing Legal
Education Committee 2004-05); Nashville Bar Foundation (Fellow); Tennessee Justice Center,
Inc. (Board of Directors, 2002-05, Secretary-Treasurer, 2003-04); Nashville Lawyer's
Association for Women (President, 2004~05; President-elect 2003-04; Director, 2002-03;
Treasurer, 2000-02; Board, 1998-present); Davidson County, Tennessee Metropolitan Board of
Equalization, 2000-04; Harry Phillips American Inn of Courts (Executive Committee, 2004-05;
Member, 2004 - 2008, 1997-99); Nashville Bar Association; Tennessee Bar Association;
American Association of Trial Lawyers

EVE H. CER VANTEZ, born Columbus, Ohio, December 2, 1963. Admitted to practice
in Califomia, 1993; U.S. District Court, Northem District of Califomia, and U.S. Court of
Appeals Ninth Circuit, 1993; United States Supreme Court, and U.S. District Court, Southem
District of Califomia, 1998; Eastern District of Califomia, and Central District of Califomia,
1999. Educaa`on: Harvard Law School (J.D., 1992); Harvard Law Review, 1991-92;
Washington University (A.B., 1985). Employment Law Clerk to Judge Charles A. Legge, U.S.
District Court, Northem District of Califomia, 1992-93. Publications “When Should You Bring
State Law Wage & Hour Claims ln Addition To, Or lnstead Of, FLSA Claims?” The Employee
Advocate (Summer/Fall 2003); Chapter Contributor to Employment Discrz'mc'naa'on Law,
“Statistical Proof" (BNA, 2002 Cumulative Supplement). Member: State Bar of California;
American Bar Association, Bar Association of San Francisco; National Employment Lawyers
Association; California Employment Lawyers Association.

sosn.i _ 47 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 53 of 61

JOYA. KRUSE, born Buffalo, New York, February 24, 1955. Admitted to practice in
Washington, D.C., 1984; California; U.S. Supreme Court; U.S. Courts of Appeals for the District
of Columbia, Ninth, and Fedcral Circuits; U.S. District Courts for the Northem and Eastern
Districts of Califomia, 1989. Education: Harvard Law School (J.D., 1984); Wellesley College
(B.A,, 1977). Employment Assistant Federal Public Defender, Northem District of Califomia,
1992-96; Public Defender Service, Washington D.C., 1984-89. Member: Phi Beta Kappa; State
Bar of Califomia; Bar Association of San Francisco.

OF COUNSEL

WILLIAM B. HIRSCH, born Los Angeles, Califomia, May 19, 1951. Admitted to
practice in California, 1983; U.S. District Court, Northem District of California; U.S. District
Court, District of Hawaii, 1991. Edncaa`on: Harvard University (J.D., l983); Princeton
University (M.A., 1975); University of California at Santa Cruz (B.A., with highest honors
1973). Awards and Honors: Trz'al Lawyer of the Year, Trial Lawyers for Public Justice, 1995,
Publications “Justice Delayed: Seven Years Later & No End In Sight,” in The E)axon Valdez
Disaster: Readr`ngs On A Modern Socz`al Problem (Kendall & Hunt Pub. Co. 1996).

Member: Bar Association of San Francisco; State Bar of California; Trial Lawyers for Public
Justice; The Association of Trial Lawyers of America; ACLU of Northem California (Steering
Committee, 1993-94).

SUSIE INJI.IIAN, born Cairo, Egypt, September 7, 1960. Admitted to practice in
Califomia, 1987; U.S. District Court, Central District of Califomia, 1987; U.S. District Court,
Northem and Eastern Districts of Califomia, 1990; U.S. Court of Appeals Ninth Circuit, 1992;
U.S. Supreme Court, 2003. Education: University of San Francisco (J.D., 1986); McAuliffe Law
Honor Society; University of California at Berkeley (B.A., 1982); University of San Diego.
Awards and Honors: Named as one of Califomia “Trial Lawyers of the Year,” California
Lawyer, 2000. Employment Senior Attorncy, Sterns & Walker, San Francisco and Oakland,
1990-2004. Member: State Bar of California; Consumer Attorneys of Califomia; San Francisco
Trial Lawyers Association.

KARIN KMMER, born Philadelphia, Pennsylvania, June 30, 1952. Admitted to
practice in New Hampshire, 1977; Califomia, 1979; U.S. Court of Appeals Ninth Circuit, 1982;
U.S. Supreme Court, 2002. Educaa`on: Boston University School of Law (J.D., 1977), Stone
Moot Court (Best Brief, Best Oralist), National Moot Court, Administrative Jurisprudence
Awards: Corporations, Administrative Law, Academic Award - Family Law; Brown University
(B.A., 1974). Employment Chavez & Gertler (2002-2004), Keker & Van Nest (1987 - 2002).
Publications “Will the Supreme Court Federalize Class Actions?" Fornm (October 2002).
Member: State Bar of California; San Francisco Bar Association; Marin Trial Lawyers
Association (Treasurer); Trial Lawyers for Public Justice; National Association of Consumer
Attorneys.

BRUCE W. LEPPLA, born Oakland, Califomia, September 6, 1949_ Admitted to
practice in Califomia, 1976; U.S. District Court, Northem District of California and U.S. Court
of Appeals Ninth Circuit, 1976; New York, 1978. Edacaa`on: Boalt Hall School of Law,
University of California (J.D., 1975); M.G. Reade Scholarship Prize, Boalt Hall School of Law;
University of Califomia, Berkeley (M.A., Economics, with honors 1974); Yale University

30577.1 _ 43 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 54 of 61

(B.A., magna cum lands Highest Honors in Economics 1971). Employment California
Bankers lnsurance Services Inc. (CEO, President and General Counsel), 1998-2000; Redwood
Bank (CEO, President and General Counsel), 1986-98; Lasky, Haas Cohler & Munter, 1980-82;
Brobeck, Phleger & Harrison, 1980; Davis, Polk & Wardwell, 1976-80, Teachr`ng Posnr'ons:
Lecturer, California Bankers Association General Counsel Seminars, Lending Documentation,
Financial lnstitutions Litigation and similar topics 1994-97; Lecturer, University of California at
Berkeley, Haas School of Business Real Estate Law and Finance, 1993-96. Pnl)li'caa`ons:
Author or co-author of 11 different U.S. and Intemational patents in electronic commerce and
commercial product design, including “A Method for Storing and Retrieving Digital Data
Transmissions” United States Patent No. 5,659,746, issued August 19, 1997; Author, “Securities
Powers for Community Banks” California Bankers Association Legz`slatlve Jonrnal (Nov.
1987). Member: State Bar of Califomia; State Bar of New York; Yale University Alumni Board
of Directors (Director, 2001-present); California Bankers Association (Director, 1996-98);
California State Small Business Development Board, 1989-1997; University of California at
Berkeley, Boalt Hall Alumni Board of Directors, 1993-96; Leadership Council, San Francisco
Charnber of Commerce, 1990-1992; Community Reinvestment Institute (Founding Director,
1989-1990).

ASSOCIATES

ELIZABETHA. ALEXr»¢fNDER, born Morristown, Tennessee, October 4, 1971.
Admitted to practice in Tennessee, 1998; U.S. Court of Appeals Sixth Circuit, 2001; U.S.
District Court, Middle District of Tennessee, 2000; U.S. District Court, Eastern District of
Tennessee, 2002. Edncalion: Vanderbilt University Law School (J.D., 1998); President,
Criminal Law Association; Moot Court Board Member; Vanderbilt University Honor
Committee; Hollir_rs College (B,A., 1993). Employmen£: Associate, Dodson, Parker, Dinkins &
Behm (2002-03); Associate, Wyatt, Tarrant & Combs (2000-2002); Law Clerk, Honorable
Thomas A. Higgins U.S. District Court for the Middle District of Tennessee (1998-2000).
Member: State Bar of Tennessee; Tennessee Bar Association; Nashville Bar Association (Board
of Directors, Young Lawyers Division); American Bar Association; Lawyers’ Association for
Women (First-Year Director).

LORI ERINANDRUS, born Baton Rouge, Louisiana, March 3, 1972. Admitted to
practice in Califomia, 1999; U.S. District Court, Northem, Southem and Central District of
Califomia, 2000, Edncan'on: Duke University (J.D., cum lands 1999); Women Law Students’
Association; Dean’s Advisory Council; Boston University (M.S,, cnm lande, 1993). Member:
State Bar of California; Association of Trial Lawyers of America; American Bar Association.

DANIEL E. BARENBA UM, born Boston, Massachusetts. Admitted to practice in
Califomia, 2000; U.S. Court of Appeals for the Ninth Circuit, U.S. District Court for the
Northern District of Califomia. Edncan`on: Emory School of Law (J.D., 2000); Goizueta
Business School, Emory University (M.B.A., 2000, Award: Most Outstanding Academic
Accomplishment); Tufts University (B.A., 1994). Pnblicaa'ons: Contributing Author,
California Class Actions Practice and Procedures (Elizabeth J. Cabraser editor in chief, 2003);
Co-Author, Class Cera`fr`catlon of Medical Monitoring Claz`ms in Mass Tort Prodnct Lz`ablllty

sosn.i _ 49 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 55 of 61

Litigation (ALl-ABA Course of Study, 1999). Member: State Bar of California; Bar Association
of San Francisco.

CARYN BECKER, born Johannesburg, South Africa, January 10, 1973. Admitted to
practice in Califomia, 1998; U.S. District Court, Northem District of Califomia, U.S. District
Court, Central District of California; U.S. Court of Appeals Ninth Circuit, 1999. Edncatlon:
Duke Law School (J.D., with honors 1998); Technical Editor, Law and Contemporary
Problems; Articles Editor, ane Jonrnal ofGender Law & Polr`cy; Phi Beta Kappa; University of
California at Berkeley (B.A., with high honors 1995). Publications Contributing Author,
California Class Actions Practice and Procedures (Elizabeth J. Cabraser editor in chief, 2003).
Member: American Bar Association; State Bar of California; Bar Association of San Francisco.

STEPHEN H. CASSID Y, born Pittsburgh, Pennsylvania, May 14, 1964. Admitted to
practice in Califomia, 1989; U.S. District Court, Northem District of California and U.S. Court
of Appeals Ninth Circuit, 1997. Edncaa`on: Hastings College of the Law (J.D., magna cum
lande, 1989); Associate Managing Editor, Hastings Internatz`onal and Comparative Law Review,
1988-89; Order of the Coif; Member, Thurston Society; Recipient, American Jurisprudence
Awards for Real Property, Evidence and American Legal History; Georgetown University
(B.S.F.S., 1986). Employment Law Clerk to Magistrate-Judge Joan S. Brennan, U.S. District,
Northem District of Califomia, 1989-90; Motions Attorney, U.S. Court of Appeals Ninth
Circuit, 1992-94, 1996-97. Pnl)llcatfons: Contributing Author, California Class Actions
Practice and Procedures (Elizabeth J. Cabraser editor in chief, 2003); Co-Author, “Decisions
lnterpreting Califomia’s Rules of Class Action Procedure,” in Survey of State Class Aca'on Law
(ABA 2001); “The Newest Member of the Nuclear Club: Pakistan’s Drive for_a Nuclear
Weapon’s Capability,” 12 Hastings Inr’l & Comp. L. Rev. 679 (1989). Member: State Bar of
Califomia; Bar Association of San Francisco; American Bar Association (Litigation Section);
Trial Lawyers for Public Justice; Association of Trial Lawyers of America; Consumer Attorneys
of Califomia.

MARK P. CHALOS, born New York, New York, September 3, 1973. Admitted to
practice in Tennessee, 1998; U.S. Court of Appeals Sixth Circuit, 1999; U.S. District Court,
Middle District of Tennessee, 1999; U.S. District Court, Western District of Tennessee, 2001.
Edncan`on: Emory University School of Law (J.D., 1998); Dean‘s List; Award for Highest
Grade, Admiralty Law; Research Editor, Emory lnternatr`onal Law Review; Phi Delta Phi Legal
Fraternity; Vanderbilt University (B.A., 1995). Publications Presenran'ons, Appor`ntments:
"The End of Meaningful Punitive Damages" Naslrvllle Bar Jonrnal, November 2001; "In
Profile: Tennessee Attorney General Paul Summers," Nashvr‘lle Bar Jonrnal, February 2003; "ls
Civility Dead?" Nashville Bar Jonrnal, October 2003. Member: American Bar Association;
Association of Trial Lawyers of America; Tennessee Bar Association; Tennessee Trial Lawyers
Association; Nashville Bar Association; Co-Chair, ABA YLD Criminal & Juvenile Justice
Committee; Board of Directors Nashville Bar Association YLD; Chair, Nashville Bar
Association YLD Continuing Legal Education; Nashvr'lle Bar Jonrnal, Editorial Board; Member,
Harry Phillips American Inn of Court (2002-2004); Grant Review Panelist, Metropolitan
Nashville Arts Commission; Founding Member, Young Professionals Program, Frist Center for
the Visual Arts; President, Kappa Chapter of Kappa Sigrna Fraternity Alumni Association.

80577.1 _ 50 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 56 of 61

DANIEL P. CHIPLOCK, born Albany, New York. Admitted to practice in New York,
2001; U.S. District Court, Southem District of New York, 2001; U.S. District Court, Eastern
District of New York, 2001. Edncan'on: Stanford Law School (J.D., 2000); Phi Beta Kappa;
Article Review Board, Stanford Envlronmental Law Jonrnal; Recipient, Keck Award for Public
Service; Columbia University (B.A., snmma cum lande, 1994). Member: State Bar of New
York; Association of Trial Lawyers of Arnerica.

ELIZABETH H. CRONISE, born Allentown, Pennsylvania, 1971. Admitted to practice
in Virginia, 1997; U.S. Court of Appeals 4th Circuit, 1997; U.S. District Court, Eastern and
Western Districts of Virginia, 1997; District of Columbia, 1998; U.S. District Court, District of
Columbia, 1999; U.S. Court of Appeals District of Columbia, 2002; U.S. District Court, Eastern
District of Wisconsin, 2003; U.S. Court of Appeals Eighth Circuit, 2003. Edncan'on: George
Washington University Law School (J.D., with honors 1997); Moot Court Board (President,
1996-97; Member, 1995-97); West Bar Publishing Award for Clinical Achievement; Dean’s
Fellow in Legal Research and Writing; Carnegie Mellon University (B.A., with college honors
1992). Employment Associate, DiMuro, Ginsberg & Lieberrnan, 1997-1998; Associate, Lukas
Nace, Gutierrez & Sachs Chartered, 1998-1999; Associate, Cohen, Milstein, Hausfeld & Toll,
PLLC, 1999-2003. Presenraa`ons & Public Service; Pro Bono Attomey, Trial Lawyers Care,
Representing Claimants before the September 11 Victims Compensation Fund (2003-2004);
“Sample v. Monsanto: Price Fixing and Biotech Seeds” Conference on Complex Litigation in
Agricultural Markets (2002); “Reparations for World War ll Comfort Women,” UNC Law
School 6th Annual Conference on Race, Gender, Class & Ethnicity m Reconciling Hope and
History: The Question of Reparations (2002); “Class Action Lawsuits and Genetic Engineering,”
National Conference of the Genetic Engineering Action Network (GEAN) (2001); “The
lrrtersection of Antitrust and lrrtellectual Property,” Conference on Complex Litigation in
Agricultural Markets (2001); “The Case Against Monsanto,” FarrnAid 2000, Second Annual
Farmer Summit on Genetic Engineering in Agriculture (2000); Radio Commentator,
WTEM/WBIG, Public Service Programming on Current Events and Legal Issues (1997-2001).
Member: Virginia State Bar Association; District of Columbia Bar Association (Chairperson,
Young Litigators Committee, Litigation Section, 2002-03); American Bar Association;
American Trial Lawyers Association.

MATTHEWS. DA VEGA, born Santa Rosa, Califomia, February 14, 1971. Admitted to
practice in Califomia, 1998; U.S. District Court, Northem District of Califomia, 1998.
Edncan`on: University of San Francisco Law School (J.D., 1997); University of Califomia,
Santa Barbara (B.A., 1993). Employment Associate, Brayton & Purcell, 2000-2002; Law Clerk
to Judge Elaine Watters, California Superior Court, Sonoma County, 1998. Member: State Bar
of California; Bar Association of San Francisco; Trial Lawyers for Public Justice.

MARK T. DA VEY, born Meridian, Mississippi, December 14, 1970. Admitted to practice
in Califomia, 2003; U.S. District Court, Northem District of Califomia, 2004. Edncarion:
University of Califomia, Boalt Hall School of Law (J.D,, 2003); Brian M. Sax Memorial Prize
for Excellence in Clinical Advocacy; University of Califomia, Berkeley (B.A., Phi Beta Kappa,
1998); Highest Distinction in General Scholarship Member: San Francisco Bar Association;
State Bar of Califomia; Barrister's Club.

sosni _ 51 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 57 of 61

NICHOLAS R. DIAMAND, born London, England, October 18, 1969. Admitted to
practice in New York, 2003; U.S. District Court, Southem and Eastern Districts of New York,
2003. Edncation: Columbia University School of Law (LL.M., Stone Scholar, 2002); College
of Law, London, England (C.P.E.; L.P.C.; Commendation, 1997); Columbia University (B.A.,
magna cum lande, 1992). Employment Solicitor, Herbert Smith, London (1999-2001); Law
Clerk to the Honorable Edward R. Korrnan, Chief Judge, U.S. District Court, Eastern District of
New York `(2002-03). Member: New York State Bar Association, Law Society of England and
Waies. _

ALEXANDRA L. FOOTE, born Riverside, Califomia, September 14, 1971. Admitted to
practice in Califomia, 2002; U.S. Court of Appeals for the Ninth Circuit, 2002; U.S. District
Court, Northem District of Califomia, 2002, Edncaa'on: University of Califomia, Hastings
College of the Law (J.D. 2002); Hastings College of the Law Civil Justice Clinic; Brown
University (A.M. Environmental Studies 2000); University of Oregon, (B.A. 1992, magna cum
lande, Pln` Beta Kappa, departmental honors Outstanding Junior Woman of the Year Award
1991, Outstanding Senior of the Year Award 1992). Pnl)lr`can`ons: Co-author with Elizabeth J.
Cabraser, and Fabrice N. Vincent, “Ethics and Admissibility: Failure to Disclose Conflicts of
lnterest in and/or Funding of Scientific Studies and/or Data May Warrant Evidentiary
Exc]usions," Mealey's Daubert Reporr (December 2002); Co-author of California Section of
Survey of State Class Action Law (ABA 2003), re-published in 5 Newberg on Class Actions
(2003). Member: California State Bar; American Bar Association, Litigation Section; Bar
Association of San Francisco; Lawyer’s Club of San Francisco; Association of Trial Lawyers of
America.

RACHEL GEMAN, born Northampton, Massachusetts August 7, 1971. Admitted to
practice in New York, 1998; Southem and Eastem Districts of New York, 1999, Edncaa'on:
Columbia University School of Law (J.D. 1997); Stone Scholar; Equal Justice America Fellow;
Human Rights Fellow; Editor, Columbia Jonrnal of Law and Social Problems; Harvard
University (A.B. cum lande 1993). Employment Special Advisor, United States Mission to the
United Nations, 2000; Law Clerk to Judge Constance Baker Motley, U.S. District Court,
Southem District of New York, 1997-98. Awards and Honors: Distinguished Honor Award,
United States Department of State, 2001. Pnbllcations/Presentations: “Fair Labor Standards Act
Overtime Exemptions: Proposed Regulatory Changes,” New York State Bar Association Labor
and Employment Newsleaer (Spring 2004); “Current Topics in F air Labor Standards Act
Litigation,” Conference, Association of the Bar of the City of New York (2003, Chair &
Panelist); “Workforce Without Borders” ABA Section of Labor & Employment Law, EEOC
2003 Midwinter Meeting (Moderator), Member: Bar Association of the City of New York
(Labor and Employment Section, 2000-present); American Bar Association.

DA VID P. GOLD, born New York, New York, December 29, 1967. Admitted to
practice in New York, 2004. Edncaa`on: Columbia Law School (J.D., J ames Kent Scholar,
2002); Articles Editor, Columbia Law Revr`ew; University of Pennsylvania (Ph.D., William Penn
Fellow, 2002); Brown University (A.B., magna cnm landel 1990). Employment Law Clerk to
Honorable Stephen Reinhardt, U.S. Court of Appeals Ninth Circuit, 2002-03. Pnl)lr`can`ons:
“Wildlife Protection and Public Welfare Doctrine,” 27 Colnm. J. Envtl. L. 633 (2002); “A
Hitherto Unknown Sanskrit Work Concerning Madhava’s Power Series for Sine and Cosine,” 42
Historia Scientiarnm 49 (1991). Member: State Bar of New York.

80577_1 _ 52 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 58 of 61

.IENNIFER GROSS, born Sleepy Hollow, New York, July 1, 1969. Admitted to
practice in Califomia, 1994; U.S. District Court, Central District of Califomia, 1994. Edncan`on:
RAND Graduate School (M. Phil., 1997)', University of Southem California (J.D., 1994); Emory
University (B.A., 1991). Publications Co-Author, lntellr'gence, Snrver'llance, and
Reconnaissance Force Mix Study: Flnal Report (RAND 2003); Co-Author, Asbestos Litigation
Costs and Compensatr'on.‘ An lnterz`m Report (RAND 2002); Co»Author, Asbestos Litigation in
the U.S. : A New Look al an Old Issue (RAND 2001); Co-Author, Class Acn`on Dllemmas.‘
Pursning Public Goalsfor Private Gain (RAND, 2000); Co-Author, Potenn`al annerabr'lia`es of
U.S. Air Force lnformation Systems (RAND, 1999); Co-Author, "Preliminary Results of the
RAND Study of Class Action Litigation," (RAND, 1997). Member: State Bar of Califomia.

LEXI J. HAZAM, born Olney, Maryland, October 9, 1973. Admitted to practice in
Califomia, 2003. Edncan`on: Boalt Hall School of Law, University of Califomia, Berkeley
(J.D., 2001); California Law Review; Articles Editor, La Raza Law lournal; Recipient, Berkeley
Law Foundation Summer Grant for Public Service; F ederal Practice Clinic, Hopi Appellate
Clinic; Stanford University (B.A., Phi Beta Kappa, 1995, M.A. 1996). Employment Law Clerk,
Mexican American Legal Defense and Education Fund, Summer 1999; Law Clerk to Judge
Henry H. Kennedy, Jr., U.S. District Court for the District of Columbia, 2001-02. Member: State
Bar of Califomia, National Employment Lawyers’ Association.

CHIMENE I. KEITNER, born Ontario, Canada, November 14, 1975. Admitted to
practice in Califomia, 2003; U.S. District Court, Northem District of California and U.S. Court
of Appeals Ninth Circuit, 2003. Edncaa`on: Yale Law School (J.D., 2002); Moot Court of
Appeals (Best lndividual and Best Team Performance, 2002); Senior Editor, T he Yale Law
Jonrnal (2001-02); Book Reviews Editor, The Yale Jonrnal of lnternatr'onal Law (2000-01);
Oxford University (Doctorate in International Relations 2001; Rhodes Scholar); Harvard
University (A.B., 1996). Employment Student Director, Jerome N. Frank Legal Services
Immigration Clinic (2000-01); Consultant, UNESCO Division of Cultural Policies (2001); Law
Clerk, Canadian Supreme Court Chief Justice Beverley McLachlin (2002-03). Publications
Co-Author with J ames M. Finberg, “New Overtime Regulations Require Heightened Vigilance,"
San Francisco Attorney Magazr`ne, Spring 2004; “Free Association; The United States
Experience,” with W. Michael Reisman, Texas Infer/national Law Jonrnal, Vol. 39, No. 1 (Fall
2003); “Associate Statehood: Principles and Prospects,” Faroese Law Review, Vol. 3, No. 1
(May 2003); “The Challenge of Building an Inter-Communal Rule of Law in Helen Hunt
Jackson’s Ramona,” Law and Lr`teratnre, Vol. 15, No. l (Spring 2003); “Victim or Vamp?
Images of Violent Women in the Criminal Justice System,” Columbia Jonrnal of Gender and
Law, Vol. 11, No. 1 (Spring 2002); “Crafting the Intemational Criminal Court; Trials and
Tribulations in Article 98(2),” UCLA Jonrnal aflnternational Law and Forer'gn Ajjfar‘rs, Vol. 6,
No. 1 (Spring/Summer 2001); “National Self-Deterrnination in Historical Perspective 1789/1989;
Insights from the French Revolution for Today’s Debates” Infernaa‘onal Studies Rew‘ew, Vol. 2,
Issue 3 (Fall 2000); “The ‘False Promise’ of Civic Nationalism,” Millennz'nm: Jonrnal of
Internan`onal Stndz'es, Vol. 28, No. 2 (1999); “Nationalism and War in the French Revolution,”
Tilze ASENBnlleti'n, No. 17 (Summer 1999); “Power and ldentity in Nationalist Conflicts”
Oxford lnternatlonal Revz'ew, Vol. Vlll, No. 2 (Spring 1997). Member: State Bar of California;
American Bar Association (Section of Litigation); Bar Association of San Francisco; Association
of Trial Lawyers of America; American Society of Intemational Law.

80577.1 _ 53 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 59 of 61

KRISTEN E. LA W, born Parkersburg, West Virginia, April 3, 1974. Admitted to
practice in Califomia, 2002. Edncaa`on: Boalt Hall School of Law, University of Califomia,
Berkeley (J.D., 2002); Executive Editor, Ecology Law Quarterly; Moot Court Advocacy Award;
Moot Court Board; Hopi Appellate Clinic; Ohio Wesleyan University (B.A., summa cum lande,
1995); Presidential Scholar. Member: Phi Beta Kappa; State Bar of Califomia.

CHRISTOPHER K. LEUNG, born Oakland, Califomia, January 5, 1974. Admitted to
practice in Califomia, 2000. Edncan`on: University of Califomia, Hastings College of the Law
(J.D., 2000); University of California Berkeley (B.A., 1996). Employment Law Clerk to Judge
Oliver W. Wanger, U.S. District Court, Eastern District of Califomia, 2000-01; J udicial Extern
to Magistrate-Judge J ames Larson, U.S. District Court, Northem District of Califomia, Spring
2000. Publications Contributing Author, California Class Actions Practice and Procedures
(Elizabeth J. Cabraser editor in chief, 2003). Member: State Bar of California; American Bar
Association; Asian American Bar Association; Association of Trial Lawyers of America; Bar
Association of San Francisco.

DA VID MARCUS, born Rochester, New York, March 23, 1976. Admitted to practice in
New York, 2003; California, 2004, Educaa`on: Yale Law School (J.D., 2002); Articles and book
review editor, Yale Journal of Intemational Law; Harvard University (B.A., magna cum laude,
1998). Employment Law Clerk to Honorable Allyne R. Ross United States District Judge,
Eastern District of New York, 2002-03. Publications "Famine Crimes in International Law,"
American Jonrnal of lnternan`onal Law, Apri12003. Member: State Bar of New York.

PA UL A. MOORE III, born Kailua, Hawaii, January l, 1966. Admitted to practice in
Maryland. Edncation: University of Virginia (J.D., 1998); George Mason University -- Institute
for Conflict Analysis and Resolution (M.S.C.A.R., 1994); Georgetown University (B.S.F.S.,
1990). Employmenr: Trial Attomey, U.S. Department of Justice » Antitrust Division, 1998-
2004. Member: State Bar of Maryland, American Bar Association.

SCOTT P. NEALEY, born Champaign, Illinois July 28, 1966. Admitted to practice in
Califomia, 1997; U.S. District Court, Northem District of Califomia, 1998; U.S. District Court,
Eastern District of Califomia, 1998; U.S. Court of Appeals Ninth Circuit, 1999; U.S. District
Court, Central District of Califomia, 2000, Educaa'on: Boalt Hall School of Law, University of
California (J.D., 1996); University of California at Berkeley (B.A., 1988). Employment Law
Clerk to Chief Justice Joseph R. Weisberger, Supreme Court of Rhode lsland, 1996-97.
Publications Contributing Author, California Class Actions Practice and Procedures (Elizabeth
J. Cabraser editor in chief, 2003). Member: Bar Association of San Francisco; State Bar of
Califomia.

REBECCA POA TE, born Summit, New Jersey, July 11, 1973. Admitted to practice in
Califomia, 2001; U.S. Court of Appeals Ninth Circuit, 2001; U.S. District Court, Central
District of Califomia, 2001; U.S. District Court, Northern District of Califomia, 2002,
Edncaa`on: University of Califomia, Hastings College of Law (J.D., magna cum laude, 2000);
Hastings Law Journal, 1998-2000; Order of the Coif; Williams College (B.A., cum lande, 1995).
Employment Swanson & McNamara LLP, 2004; Caldwell, Leslie, Newcombe & Pettit, 2001-
2003; Law Clerk to Honorable Melvin Brunetti, U.S. Court of Appeals Ninth Circuit, 2000-
2001. Publications “Beyond Relevant Conduct; The Federal Sentencing Commission’s

80577.1 _ 54 _

Case 1:04-cv-10981-PBS Document 12-8 Filed 12/15/2004 Page 60 of 61

(In)discretion,” 51 Hastings Law Jonrnal 1363 (2000). Member: California Bar Association;
American Bar Association.

DANIEL H. ROSE, born New Rochelle, New York, June 30, 1958. Admitted to practice
in Califomia, 1984; U.S. District Court, Northem District of Califomia, 1984. Edncan`on:
University of Califomia, Hastings College of Law (J.D., 1984); Constitutional Law Quarterly
(1983-1984); University of Colorado at Boulder (B.A., Economics Magna Cum Laude, Pln' Beta
Kappa, 1980). Employment: Judicial Extern, Honorable Thelton E. Henderson, United States
District Judge, Northem District of Califomia, 1984. Publications “National Beverage
Container Deposit Legislation: A Cost-Benefit Analysis,” 12 Jonrnal of Envlronmental Systems
71 (1982-83) Member: State Bar of Califomia; Bar Association of San Francisco.

JAHAN C. SA GAFI, born Philadelphia, Pennsylvania, December 26, 1971. Admitted to
practice in Califomia, 2003. Edncan`on: Harvard Law School (J.D., 2001); Senior Editor,
Harvard Civil Rights-Civil Liberties Law Revz'ew, 1999-2001; President, Board of Student
Advisers; Harvard College (B.A., magna cum lands 1994). Employmenr: Law Clerk to Judge
William W Schwarzer, U.S. District Court, Northem District of Califomia, 2001-02. Member/z
State Bar of Califomia.

NIRE.ISEKHON, born Long Beach, Califomia, July 3, 1973. Admitted to practice in
Califomia, 2001; Washington, 2002, Edncatr'on: New York University School of Law (J.D.,
2000); Associate Editor, NYU Law Review; Comell University (B.A. Economics 1995 ; B.A.
Government, 1995). Publications “A Birthright Rearticulated: The Politics of Bilingual
Education,” 74 NYU Law Revlew 1407 (1999). Employment Staff Attorney, The Defender
Association, 2002-2004; Law Clerk to Honorable M. Margaret McKeown, Ninth Circuit Court
of Appeals 2001-02; Law Clerk to Hon. Carlos Moreno, U.S. District Court, Central District of
Califomia, 2000-01. Member: State Bar of Califomia.

DANIEL E. SEL TZ, born Alexandria, Virginia, April 24, 1974. Admitted to practice in
New York, 2004. Edncaa`on: New York University School of Law (J.D,, 2003); Revi'ew ofLaw
and Social Change, Managing Editor; Hiroshima University (Fulbright Fellow, 1997-98); Brown
University (B.A., magna cum lands Phi Beta Kappa, 1997). Employment Law Clerk to
Honorable John T. Nixon, U.S. District Court, Middle District of Tennessee, 2003-04.
Publications “Remembering the War and the Atomic Bombs: New Museums New Approches,”
in Memorfy and the Impact ofPolr`a`cal Transforman`on in Pnl)lfc Space (Duke University Press,
2004), originally published in Radical History Review, Vol. 75 (1998); “Issue Advocacy in the
1998 Congressional Elections,” with Jonathan S. Krasno (Urban Institute, 2001); Buyr'ng Tz`me:
Televr'sr'on Advera`sing in the 1998 Congressr`onal Elecn'ons, with Jonathan S. Krasno (Brennan
Center for Justice, 2000); “Going Negative,” in Playz`ng Hardball, with Kenneth Goldstein,
Jonathan S. Krasno and Lee Bradford, (Prentice-Hall, 2000).

ERIK L. SHA WN, born New York, New York, May 3, 1970. Admitted to practice in
New York, 1996. Edncaa`on; Fordham University School of Law (J.D., 1995); Brandeis
University (B.A., cum lands 1992). Member: State Bar of New York; American Bar
Association; New York State Bar Association - Entertainment, Arts and Sports Law Section;
New York County Lawyers Association - Entertainment, Media, Intellectual Property and Sports

30577.1 - 55 -

Case 1:04-cv-10981-PBS Document12-8 Filed12/15/2004 Page 61 of 61

Law Section - Co-Chair, Sports and Law Committee; lntellectual Property Committee; Co~Chair,
Brandeis Lawyers Network; Fordham Law School - Recent Graduates Committee,

GENA E. WILTSEK, born New York, New York, March 19, 1973. Admitted to practice
in New York, 2001; District of Columbia, 2002; U.S. District Court for the District of Columbia,
2003. Edncation: University of Michigan Law School (J.D., 1999); Associate Editor, Michigan
Jonrnal of Law Reform; Yale University (B.A., with distinction in Political Science, 1995).
Employment Bernabei & Katz, PLLC (2000-2004). Member: American Bar Association; New
York State Bar Association; District of Columbia Bar.

Notice on the Firm’s AV Rating: AV is a registered certification mark of Reed Elsevier
Properties, Inc., used in accordance with the Martindale-Hubbell certification procedures
standards and policies Martindale-Hubbell is the facilitator of a peer review process that rates
lawyers Ratings reflect the confidential opinions of members of the Bar and the Judiciary.
Martindale-Hubbell Ratings fall into two categories f legal ability and general ethical standards

80577.1 _ 56 _

